Case 1:03-cv-21642-PAS Document 76 Entered on FLSD Docket 09/23/2093 g Ppp eR go &l4 7

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UNITED STATES DISTRICT COURT cLaRENcE mappoxtt? 45:54
ENCE
SOUTHERN DISTRICT OF FLORIDA CLERK, USDC / SDFL/ MIA
MIAMI DIVISION

RIZALYN BAUTISTA, CASE .) 03-21642-CIV-SEITZ/BANDSTRA
etc., et al.

PAUL PERALTA, CASE NO.: 03-21643-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO, CASE NO.: 03-21644-CIV-SEITZ/BANDSTRA
RONALDO MARCELINO, CASE NO.: 03-21645-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO, CASE NO.: 03-21646-CIV-SEITZ/BANDSTRA
ABDI COMEDIA, CASE NO.: 03-21647-CIV-SEITZ/BANDSTRA

CRISTINA L. VALENZUELA, CASE NO.: 03-21648-CIV-SEITZ/BANDSTRA
etc., et al.,

MARILEN S. BERNAL, CASE NO.: 03-21649-CIV-SEITZ/BANDSTRA
etc., et al.,

WILLY I. VILLANUEVA, CASE NO.: 03-21650-CIV-SEITZ/BANDSTRA

etc., et al.

MARIA GRACIA L. ROSA, CASE NO.: 03-21651-CIV-SEITZ/BANDSTRA
etc., et al.,

Plaintiff(s),

vs.

NORWEGIAN CRUISE LINE, LTD., ORIGINAL

and STAR CRUISES,

Defendant(s).

™

200 South Biscayne Boulevard
Miami, Florida

September 11, 2003

Thursday, 11:20 a.m.

VIDEOTAPED DEPOSITION OF KJELL HJARTNES

Taken before Jan E. Reyna, Registered Professional
Reporter and Notary Public in and for the State of Florida at
Large, pursuant to Notice of Taking Deposition filed in the
above cause.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404 Ww
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1 | APPEARANCES:

2 THE HUGGETT LAWFIRM,
By: WILLIAM HUGGETT, ESQUIRE,
3 66 west Flagler Street, Suite 400
Miami, Florida 33130
4 Appearing on behalf of the Plaintiff(s).
5 MASE & GASSENHEIMER, P.A.,
By: CURTIS MASE, ESQUIRE,
6 80 Southwest 8th Street, Suite 2700
Miami, Florida 33131
7 Appearing on behalf of the Defendant(s).

8 | ALSO PRESENT:

9 TODD COHEN, Videographer,
Video for the Legal Profession
10
11 IN DE X
12 | KJELL HJARTNES Page
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14 DIRECT EXAMINATION 6
BY MR. HUGGETT
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EXHIBITS
19

20 | Plaintiff's Composite Exhibit No. 1

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404
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THEREUPON:

(The following proceedings were had: )

MR. MASE: On the record.

At 3:30 p.m. yesterday afternoon, or
thereabouts -- I'1l1l have to actually get a copy
of the amended notice -- we received a revised
notice of taking deposition indicating this
deposition was going to be videoed, or
videotaped.

First, the defendant objects -- the
defendants object to the videotaping of this
deposition on the basis that it was not noticed
as a videotaped deposition.

The amended notice was not timely, violates
the Federal Rules of Civil Procedure, and does
not provide reasonable or adequate notice to the
defendants of an intent to videotape. while the
federal rules do provide for audio and video
recordation, they also mandate reasonable notice
in order preserve parties’ due process rights.

The witness, though dressed in a shirt and
tie, would have dressed otherwise. Presentation
is critical in a video. I, as a lawyer, would
have prepared the witness otherwise, because

videotape testimony is more akin to live

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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testimony.

Therefore, I believe the due process rights
of the defendants have not been protected. I do
not believe the videotape should be permitted.

I do not believe it should be useable in any
context, and I object.

MR. HUGGETT: Do you want me to swap my
shirt with his?

THE WITNESS: Mine's nicer.

MR. HUGGETT: well, then you'll be very
fine. I think everbody will like your clothes.

MR. MASE: Let me add one thing.

Pursuant to the Federal Rules of Civil
Procedure, Rule 26, I move on the record for
protective order as pertains to that aspect of
this deposition which is videotaped.

Subsequent to this deposition, I will
prepare and file a written motion for protective
order in accordance with the Federal Rules of
Civil Procedure, and that is the appropriate
motion to prohibit or quash the videotape
itself. Thank you.

THE VIDEOGRAPHER: Are you ready?

MR. MASE: You can go whenever you're

ready.

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THE VIDEOGRAPHER: Standby.
THE COURT REPORTER: we are here today,
September 11th, 2003, at approximately 11:25
a.m. for the videotaped deposition of --
MR. MASE: Kjell Hjartnes.
THE COURT REPORTER: -- Kjell Hjartnes, in

Case No. 03-21642 in the case of Bautista versus
Norwegian.

The videographer is Todd Cohen of video for
the Legal Profession, Inc. The reporter is Jan
Reyna of Klein, Bury & Associates.

would counsel announce their appearances
for the record, please.

MR. HUGGETT: Bill Huggett for the
plaintiffs.

MR. MASE: Curtis Mase on behalf of the
defendants, Norwegian Cruise Line and Star
Cruises.

THE COURT REPORTER: Raise your right hand,

please.

THEREUPON:

KJELL HIJARTNES

called aS a witness on behalf of the Plaintiff herein
and, having been first duly sworn, was examined and

testified as follows:

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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THE WITNESS: I do.
THE COURT REPORTER: Thank you.
DIRECT EXAMINATION
BY MR. HUGGETT:
Q. Tell us your name and address, please.
A. Kjell Hjartnes, K-J-E-L-L H-J-A-R-T-N-E-S,
2120 Tallahassee, weston, Florida.
Q. And what is your position with the company
that you work with?
A. I am director of Human Resources, Marine
Operations.
Q. when did you become that position?
A. Sometime in the summer of 2002.
Q. What were you before that?
A. I was superintendent of ship personnel.
THE WITNESS: Ship personnel.
MR. MASE: Mr. Hjartnes, I'l] remind you
that even though the videographer has a
microphone on you, it’s very important to speak
up so that Jan, the court reporter, can hear
you, because she's taking down stenographically
every question that Mr. Huggett asks you, my
objections, if any, and your testimony. So
you've got to keep your voice up audibly so she
can catch it. All right?

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THE WITNESS: Okay.

MR. MASE: Thank you. Excuse me.

BY MR. HUGGETT:

Q. And what were you before you were shipboard
superintendent of shipboard personnel?

A. I was safety management -- safety
management system officer of Norwegian Cruise Line.

Q. And who do you work for now?

A. Norwegian Cruise Line, Limited.

Q. Okay. And what is their relation to Star
Cruises, if any?

A. Star Cruises is the parent company of
Norwegian Cruise Line, Limited.
MR. MASE: Note my objection to the extent
that it calls for a legal conclusion.
Obviously, he's been permitted to answer, and I
will permit him to answer, but based on his
qualifications.
BY MR. HUGGETT:

Q. And how long have you been with Norwegian
Cruise Line?

A. Since 19 -- I believe it's 1980.

Q. Okay. Are you a Norwegian?

A. Yes, I am.

Q. And you speak Norwegian?

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to your knowledge, any other names?

MR. MASE: The company being NCL?

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—

A. Yes, I do.

Q. what was your background before you came
with the company?

A. I'm sorry?

Q. what was your background before you came
with the company?

A. Before I started with Norwegian Cruise
Line?

Q. yes, sir.

A. I worked for the Norwegian Government at
the Norwegian Mission to United Nations.

Q. Okay. Could you tell me your level of
education?

A. Equal to maritime college in the United
States. My education is from Norway.

Q. Okay. So that roughly in our -~ you would
have gone through what we consider high school and
then on to a college specializing in maritime
affairs?

A. Yes.

Q. Okay. And how long is that college?

A. Two years.

Q. All right. Has this company been known by,

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MR. HUGGETT: Yeah.

THE WITNESS: Yes.

BY MR. HUGGETT:

Q. What were they?

A. Kloster Cruise, Limited, Norwegian
Caribbean lines.

Q. Uh-hmm.

A. And then Norwegian Cruise Lines.

MR. MASE: Once again, to the extent this
calls for a legal conclusion in terms of him
describing successor corps, et cetera, I'm
concerned about his qualification, and I
objection on that basis, but obviously let him
answer.

Go ahead.

BY MR. HUGGETT:

Q. were you with the company throughout the
"80s and the ‘90s?

A. Yes, I was.

Q. Okay. And was it ever known as Kloster
Cruises or Kloster Cruise AS?

A. Yes.

Q. Okay. And how long has it owned or
operated the NORWAY?

A. Since 1979, to the best of my recollection.

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Q. And are -- are you here as the company
representative or the person designated to speak on
certain areas?
A. Yes, I am.
Q. Okay. And did you learn yesterday that we
were going to do this by video?
A. No, I did not.
Q. Mr. Mase told us that he learned yesterday
afternoon. He didn't call you and tell you?
MR. MASE: Don't answer that question --
well, actually, go ahead, you can answer that.
THE WITNESS: NO, I was not notified.
MR. MASE: Let me be clear on the record.
What I said was that the notice bore the

time of 3:30 p.m. I did not indicate that I, or
any other attorney in my office, became aware of
it until a few minutes ago, and I will represent
here and on the record that I became aware of it
when I walked into this room.
And I've checked with my office. Nobody
else seemed to know about it either.
BY MR. HUGGETT:
Q. Do you understand from what he says that
the notice arrives three-something yesterday?

A. I heard what he said, yes.

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Q.
yesterday?

A.

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A.

Q.

would you

were you in your office at three-something

No, I was not.
were you available by phone?
Probably.

Does Mr. Mase's office have your home

You would have to ask him.

He ever contact you at home?

Not that I recall.

Okay. If he had called you at home, what

have done in regard to being

video-depositioned different?

MR. MASE: Objection, speculative.

THE WITNESS: I don't know.

BY MR. HUGGETT:

Q.

have --

Okay. You feel -- okay. well, do you

MR. HUGGETT: Can I borrow yours?

BY MR. HUGGETT:

Q.
Notice of

A.

Q.

Have you read the copy of the Plaintiff's
Taking Rule 30 (b)(6) Deposition?
Yes, I have.

Okay. I'm going to hand you a copy. There

are a number of items, and -- of one through 13, that

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talk about -- that we'd like to talk about, at any

rate, and I'll hand you a copy.

seen that page, right?

A. Yes, I have.

Q. Okay. Number one, if I could direct your
attention to that, dealing with each injured seaman,
or deceased seaman, whose claims are brought in this
case, and it asks questions -- it asks then about:
The dates and locations the agreement to arbitrate
which the defendant relies on was negotiated.

Are you the person most knowledgeable of

that area?

A. Within NCL, probably.

Q. Okay. Now, you say "within NCL." Are
there other -- who else would be knowledgeable of
that?

MR. MASE: Objection, speculative, lack of
foundation, inadequate predicate.
THE WITNESS: I don't know.
BY MR. HUGGETT:
Q. Okay. Now, does the parent corporation
have any knowledge of that to your knowledge?
A. I don't know.

Q. Don't you meet with Nils Nordh on occasion

There's a page in between them. And you've

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to deal with matters of this nature?

A. No, I do not.

Q. Last time we took your deposition didn't we
review the protocol document in which you and Nils
Nordh, Mr. Kritzman, Mr. Bru, and so forth, had
repeated meetings about Norwegian Seaman's Union,
rights and benefit of Filipinos, and so forth?

A. yes.

Q. Okay. So you do -- you do -- refreshed
your memory -- then meet with Mr. Nordh about, and
others, concerning various matters concerning
Filipino employees?

MR. MASE: Objection to the form of the
question.
THE WITNESS: I believe we're referring to
two different things.
BY MR. HUGGETT:

Q. Okay. My question at the moment is: Have
you met with Mr. Nils Nordh from time to time
concerning Norwegian employees?

MR. MASE: Did you finish your answer,
Mr. Hjartnes, to the last question? If you did,
you can go ahead and answer that.

THE WITNESS: Yeah.

MR. MASE: I was just concerned. Okay. Go

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ahead.
THE WITNESS: Yes.
BY MR. HUGGETT:
Q. And who is he?
A. He 1s the executive vice president for
marine operations and new building at Star Cruises in

Port Klang, Malaysia.

THE COURT REPORTER: At Star Cruises in?
THE WITNESS: In Port Klang, or Port Klang,
Malaysia.
BY MR. HUGGETT:

Q. And when you had those meetings with him,
does he come here or do you go there?

A. Both.

Q. Okay. And have you also traveled to the
Philippines to do business regarding Philippine
seamen?

A. yes, I have.

Q. Now, the second part of the question deals

with, as to our claimants whose claims are brought,

are you the person that would be most knowledgeable

of -- from NCL, of the participants in the

negotiations regarding the agreement to arbitrate?
MR. MASE: was that a question or a

statement?

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MR. HUGGETT: Yeah, asked.

MR. MASE: I object. It's no question.

MR. HUGGETT: Okay. I'1l rephrase it.

BY MR. HUGGETT:

Q. Look at the question 1 (b), sir.

A. Yes.

Q. Are you the person most knowledgeable of
that?

A. I think you need to clarify what -- what
agreement to arbitrate you're referring to.

Q. Okay. Are you aware of any agreements to
arbitrate that these seamen are -- are subject to?

A. yes, I am.

Q. And what is that?

A. Standard POEA --

THE COURT REPORTER: Standard --

THE WITNESS: -- Standard POEA contract.
BY MR. HUGGETT:

Q. Okay, standard POEA contract.

And are you the person most knowledgeable
of the participants in the negotiations for that
Standard POEA contract?

A. within NCL, yes.
Q. Okay. Could you describe for me your role
in that?

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A. I don't have a role in that.

Q. Okay. what -- what do you do or what is
the basis of your knowledge for that?

A. If I can --

Q. Please.

A. -- describe how the POEA is -- or what the
POEA's role is, in order to -- for us to do, to hire
seafarers in the Philippines, we have to be
accredited with POEA through an accredited and
certified manning agent.

Even though I -- we don't -- I don't, on

behalf of Norwegian Cruise Line, or anybody else, do
business directly with POEA, we do business with them
or through our manning agents.

Q. Okay. I guess I -- that wasn't quite -- my
question is: What's the source of your information
and your knowledge?

MR. MASE: About item number two that
you're referring to, right?

MR. HUGGETT: Yeah.

MR. MASE: The second half of whatever it
is there.

MR. HUGGETT: 1 (Cb).

MR. MASE: 1 Cb).

THE WITNESS: About the participants in the

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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negotiations?
BY MR. HUGGETT:

Q. yes.

A. I don't know who participated in the
negotiations.

Q. Okay. Is your knowledge -- do I understand
that you don't have any direct role, but you do it
all through the manning agency?

A. Yes.

Q. Okay. So you, you, personally, or any --

have never participated in any of those negotiations?
MR. MASE: Mr. Huggett, may I ask you, as
you're doing this, because this is a corporate
deposition, can we interpret you in this context
to mean "NCL" unless you say and "you,

personally,” just so that we're clear, because I
think that it's going to get confusing.

MR. HUGGETT: I'll try to clarify that.

MR. MASE: Your question was fine. You did
it both ways. I'm just trying to make sure
we've got it.

THE WITNESS: And I will answer, Norwegian
Cruise Line does not participate in the

negotiations or the finalization of the POEA

contracts.

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MR. MASE: And you, personally? Because he
asked that.
THE WITNESS: I personally do not
participate.
MR. MASE: Okay. Excuse me.
BY MR. HUGGETT:

Q. And what is the source of all that you've
learned, therefore, about what's happened?

A. well, I'm -- I'm quite familiar with the
mission statement and the terms and conditions of
POEA.

MR. MASE: He wants to know how you're
familiar; that's what he's asking you.
THE WITNESS: I have read their rules and
regulations, terms and conditions.
BY MR. HUGGETT:

Q. Uh-huh. Any other sources besides reading
the terms?

A. As to their negotiations?

Q. Yes.

A No

Q. Okay. Number two reads: The unions of

which defendants contend the subject seamen were
members, including the dates the seamen joined the

unions and any documents they signed reflecting their

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intent to join a union.
Are you the person most knowledgeable
within NCL of those items?

A. I would assume so, yes.

Q. Okay. And what would be the source of your
knowledge of that?

A. As director of human resources, I'm very
much involved in the hiring process of Filipino and
other seafarers.

Q. Okay. DO you ever -- have you ever
personally traveled and -- have you personally
interviewed any of the seamen about their membership
or nonmembership in a union?

A. No.

Q. And have you personally interviewed or
talked to anyone who's been in a union or is --

claims to be in a union, a Philippine seaman union?

A. Can you repeat that question?

Q. Yes. Have you ever talked to anyone who
claims to have -- be a member of a Philippine seaman
union?

A. Yes, I have.

Q. who would that be?

A. I -- I don't recall any -- any names.

Q. Okay. Do you recall their positions?

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A. well, if can clarify?

Q. Sure.

A. All our crew members belonging to the deck
and engine department are members of AMOSUP,
A-M-O-S-U-P.

Q. And how do you know that?

A. Because they're enrolled in the union's
benefit program.

Q. Have you ever -- okay. The union's --

MR. MASE: wait, wait. Did you finish your
answer?
THE WITNESS: No.
MR. HUGGETT: Go ahead.
MR. MASE: Finish your answer, please.
THE WITNESS: Which we pay to AMOSUP on
their behalf.
BY MR. HUGGETT:
Q. Okay.
MR. HUGGETT: Read that back to me.
THE COURT REPORTER: The last part?
MR. HUGGETT: Yeah.
(Thereupon, the pending portion was read by
the reporter as above-recorded.)
MR. HUGGETT: NO, no, before that. The

whole answer.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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(Thereupon, the pending portion was read by

the reporter as above-recorded.)

MR. HUGGETT: Okay.
BY MR. HUGGETT:

Q. You're stating that NCL pays an outfit
called AMOSUP some money for people in a -- in that
union; is that right?

A. yes, we do.

Q. And do you have any knowledge whether these
particular men in this case are members of that
union?

A. yes, I do.

Q. And how do you know that?

A. we have paid their benefits --

THE COURT REPORTER: We have --
THE WITNESS: we have paid their benefits
on their behalf.
BY MR. HUGGETT:
Q. Okay. And do you have any documents that
reflect that?
MR. MASE: To that reflect what?
MR. HUGGETT: To reflect that the NCL has
paid AMOSUP benefits on behalf of the ten seamen
in this case.

THE WITNESS: Not the ten, no.

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BY MR. HUGGETT:

Q. Oh, okay. And what documents that you have
that they reflect? could you describe them? what do
they reflect?

A. They reflect that we have paid their
pension fund, the Provident fund.

Q. Okay.

A. They reflect that we have paid their Social
Security, and their medical benefits.

Q. Now, those are something that you pay to
this outfit called AMOSUP?

A. Yes.

Q. But do you have any knowledge that the ten
seamen, or the deceased ones, and the live ones, were

members of that union?

A. The five deceased ones were members of that
union.

Q. And what is the source of your knowledge of
that?

A. Like I said, we have paid their benefits
through -- to AMOSUP, to the union.

Q. Okay. But not the five -- not the live
ones?

A. No. They are catering personnel.

Q. They're what?

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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—
THE COURT REPORTER: I'm Sorry?

THE WITNESS: They belong to the catering/
hotel department.
BY MR. HUGGETT:

Q. Okay. And have you produced any documents
that show that NCL paid money on behalf of those, as
you say, five who have died? Actually it's six who
have died.

A. Have I produced documents to that effect?

Q. Yeah.

A. No, I have not.

Q. And what documents would there be?

A we would have a monthly listing of benefits
paid to AMOSUP.

Q. Okay. And would that list names?

A. Yes, it would.

Q. Okay. And where do you get those names?

A. I'm sorry?

Q. And where do you -- where does NCL get
those names from?

A. From our payroll system.

Q. Okay. And is that -- are the names given
to you by AMOSUP?

A. No.

Q. Okay. How do you get them?

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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A.
vessels.

Q.

These are crew members serving onboard our

Okay. Do you have any knowledge that

those, as you say, five deceased seamen knew that

they were in a union?

A. No, I don't.
Q. Okay. Do you have any evidence of any kind
that those -- well, let me clarify first. You're

saying five. Actually six died.

Is the five you -- how do you -- how are

you categorizing the five?

A.

They belong to the deck and engine

compliment.

Q.

Okay. Which are they? Do have you a list

of them there?

A. Yes, I do. It's Mr. Bautista.
Q. Uh-huh.
A. Mr. Valenzuela, Mr. Bernal.
Q. Uh-huh.
A Mr. Villanueva, and Mr. Rosal.
Q. Okay. These are deck and engine people?
A. yes. Actually, all engine personnel.
Q. Okay, engine personnel.
Now, there's one more that died named
Tejaro. what was he, do you know?
KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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A. He was hotel.

Q. Hotel, okay.

And the other living ones, are they all
hotel, too?

A. Yes, they are.

Q. Now, what is the difference in the hotel
person and the deck and engine person as far as being
in the union, to your knowledge?

A. The AMOSUP is a union for -- well, let me
tell you what it stands for. It stands for
Associated Marine Officers and Seafarer's Union of
the Philippines, and only our deck and engine
personnel are part of AMOSUP.

Q. Okay. And the catering people, are they
part of any union that you know of?

A. The CBA'S negotiated with Norwegian
Seaman's Union. I'm sorry, Norwegian seafarer's
Union.

Q. I'm sorry, I'm not sure that I understood
your answer as it relates to the question.

The question is: Do you have any knowledge
whether the catering personnel who are involved in
this lawsuit, either dead or alive, were in any
union?

A. In the Philippines, no.

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Q. Okay. Your -- is it your understanding
that they are not or is -- you simply don't know
whether they are?

A. I don't know that they are.

Q. But to your knowledge, any information you
have, they're not in the union?

A. That's correct.

Q. Okay. Let me go back to the deck and

engine people. Do you have any evidence of any kind
that any of these five people ever joined the union?
A. No, I don't.
Q. Do you have any knowledge or documents of
any kind that show that those five deck and engine
crewmen, now deceased, ever voted in any union vote

or election?

A. No, I don't.
Q. Do you have any knowledge or information
or -- that they ever were aware of any of their union

benefits or their union obligations? I'm speaking of
a Philippine union.

A. No, I do not have any documentation.

Q. Okay. Do you have any documentation or any
evidence that these deck-and-engine Filipino seamen
involved herein ever attended any Philippine union

meeting?

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A. No, I don't.

Q. Do have any knowledge or evidence of
whether any of these deck and engine Filipinos agreed
to any of the actions of that union, or disagreed?

A. No, I don't.

Q. Do you have any knowledge or information or
evidence that any of those five deck and engine
seamen were even aware of the existence of a -- how
do you call it, AMOSUP union?

A. No, I don't.

Q. Okay. Let's -- you also mentioned a -- did
you say Norwegian Seaman's Union?

A. Yes, I did.

Q. Okay. And could you tell me what that is?

MR. MASE: Seafarer's Union, I thought he
said.
THE WITNESS: I corrected it.
BY MR. HUGGETT:
Q. what's the correct word?
A. Norwegian Seafarer's Union.
MR. MASE: Excuse me.
BY MR. HUGGETT:

Q. Okay. Has it ever changed its name?

A. Yes.

Q. when was that?

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A. I believe earlier this year, I believe it
was in May, April or May.

Q. Okay. Response to political correctness of
name?

A. I don't know.

Q. Seafarers would represent both men and
women more correctly?

A. We can speculate.

Q. Okay. You don't know, though?

A. I don't know.

Q. Okay. well, we'll call it the NSU; is that
all right?

A. That's all right with me.

Q. You -- you know what that is?

A. yes, I do.

Q. All right. And would you describe for me
what that union is?

A. NSU is an affiliated union of the ITF
representing our seafarers. It's the union that we
negotiate our collective bargaining agreement with.

Q. Okay. Now, you say they represent the ITF?
That's --

A. No, I did not. I said it's an affiliated
association.

Q. Affiliate, okay.

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And could you give me the full name of the
ITF?
A. International Transport Workers’

Federation.

Q. Okay. And where are they based?

A. To my knowledge, their headquarter's in
London.

Q. Okay. Now, the -- were any of the ten

seamen in this case, either deck and engine or
catering, alive or dead, a member of that NSU?
MR. MASE: Object to form.
BY MR. HUGGETT:
Q. Norwegian Seafarer's Union.
MR. MASE: You Can answer.
BY MR. HUGGETT:
Q. Or its predecessor, the Norwegian Seaman's
Union.
A. As a part of the collective bargaining

agreement, they pay membership dues to NSU.

Q. Okay. They pay dues to NSU?
A. Yes, they do.
Q. Okay. Do you have any other evidence or

knowledge that these ten men in this case, other than
that they pay dues, through deductions, I presume --

I didn't -- wait a second.

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Are those dues paid through mandatory
deductions from their pay?

A. Yes, they are.

Q. Okay. Do you have any knowledge or
evidence that other than that deduction, mandatory
deduction from their pay, that these ten men are part
of the Norwegian Seaman's Union?

MR. MASE: You're asking him if he has any
evidence?

MR. HUGGETT: Yes, any knowledge, any
documents.

MR. MASE: Objection. Objection to the
form.

THE WITNESS: No, I don't.

BY MR. HUGGETT:

Q. Okay. You have no knowledge or no
documents or no evidence that any of the ten men in
this case ever joined the Norwegian seafarer'’s Union
or its predecessors?

A. No, I don't.

Q. You have no knowledge and no evidence or
documents that they ever attended a meeting of the
NSU?

A. No, I don't.

Q. You have no knowledge and no evidence that

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any of the ten men in this case ever voted in any
election or any vote of the NSU?

A. No, I don't.

Q. you have no knowledge of whether the ten
men in this case were ever visited by or discussed
matters with an NSU representative?

A. Specific knowledge, no.

Q. And do you have any knowledge or evidence

that the ten seamen in this case voluntary agreed to

have these union dues deducted from the their pay?

A. It's part of their payroll which they sign
for.

Q. And when would they sign that?

A. when they receive their pay.

Q. Okay. Could you describe that document or

whatever it is? I take it they're paid in cash?

I'm double questioning you.

A. well, the --
Q. Are they paid in cash or check?
A. They're paid in cash, but those belonging

to the engine department also had allotments which
were sent directly to the Philippines.

Q. Okay. Some of their money is sent home to
their family?

A. yes.

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Q. All right. And that's done by wire?

A. Yes.

Q. Do they get a copy of that?

A. of the wire?

Q. Do they get a copy of any evidence that

you're sending a percent home for the family?

MR. MASE: An allotment form.

THE WITNESS: They have an allotment form.
BY MR. HUGGETT:

Q. Okay. Did they sign that and say I agree
to have some of my money sent home?

A. Prior to leaving the Philippines, yes.

Q. Okay. The allotment money sent home has
nothing to do with the union; that's just normal
taking care of the family?

A. No, it has nothing to do with it.

Q. Okay. So my question is: Aside from the

allotment, the money that goes home for the family --

A. Uh-huh.

Q. -- how are they paid? How do they receive
their money?

A. In cash.

Q. In cash. And do they sign a long slip or
do they sign an individual slip, or what do they

sign --

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A. Yes.
Q. -- when they get that cash?
A. They sign their pay envelope and pay slip,

which reflects deduction of union dues.
THE COURT REPORTER: Reflects deduction of?
THE WITNESS: Union dues.

BY MR. HUGGETT:

Q. And do they keep the envelope?

A. Yes, they do.

Q. Do you keep a copy?

A Yes, we do.

Q. And what is it -- and do you keep a copy of
the -- you, meaning NCL -- keep a copy of the pay

slip or the other document besides the envelope?
A. which is referred to as trial register.

Trial register.

Q. Trial register?
A. which they sign.
Q. Okay. And you're saying -- are you telling

me that these two documents, the envelope and the
trial register, reflect the deduction for union dues?
A. The pay envelope reflects deduction of
union dues.
Q. Okay. And this is done onboard?

A. yes, it is.

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Q. So, at the time the man signs that, he's
already here, or he's already on the ship working?
A. Yes, he is.
Q. Do you have any Knowledge or evidence or

documents that show that he agreed to that deduction
prior to him getting on the ship?
A. As part of our hiring procedures, each

seafarer is given a copy of this, the CBA that

pertains to him or her prior to joining the vessel.

Q. Okay. And who does that?

A. The manning agent.

Q. The manning agent. Do you -- have you ever
personally witnessed that procedure?

A. Yes, I have.

Q. You have. Tell me those occasions.

A. I can't recall specific occasions, but,
yes, I have witnessed --

Q. Are we talking once or twice, or many?

A. Many.

Q. Okay. And tell me what -- what you've seen

when that's happened? Describe your experiences.

A. It's -- it's part of the documentation
where they get their contract, sign their contract,
they get their travel instructions, airline tickets,

and a copy of the CBA.

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Q. Okay. Is there anything -- is that a
particular -~ is that done right as they're going to
get on the plane?

A. No.

Q. when is it done?

A. During documentations, usually, in general,
I would say three to four days prior to departure.

Q. Okay. And have they already signed their
contract at that time?

A. That's part of the process.

Q. Okay. And do you participate in that or
just watch?

A. I just watch. I do not participate.

Q. Okay. And tell me -- and one of the things
that you see or you saw is that they get a copy of
the -- you call it CBA, Collective Bargaining
Agreement?

A. Yes.

Q. what did I do with mine?

when you watched -- I'm sorry, let's strike
that.

This CBA, does it inform the seaman how
much money will be deducted from his pay?

A. yes, it does.

Q. Okay. Does he sign a copy of this CBA or

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is it just a pamphlet handed to him?

A. I don't know. It's -- I don't know.

Q. Don't recall?

A. I don't recall exactly how they do it.

Q. Is it in English or is it in any of the
Philippine dialects?

A. It's in English.

Q. Okay. Is it explained to him? Did you
witness it being explained to him or did you simply
witness it being handed to him?

A. I don't recall. A requirement for being
hired is that they speak and understand English.

Q. Okay. So you don't recall sitting here

today whether this CBA booklet was explained or gone
over in this process that you have been witnessing?
A. As I do not speak Tegalo, I wouldn't know
what they were discussing.
Q. Okay. Good point.
The orientation proceedings -- is that what

you call them?

A. No.

Q. These meetings?

A. No, I referred to documentation process.
Q. Documentation process, okay.

These documentation processes that you

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watched, were they all in a foreign language that you

didn't --
A. I don't recall.
Q. well, you mentioned Tegalo, which is one of

the Philippine dialects. was it your understanding
that the ones that you watched were being conducted
in Tegalo?

A. It was probably half and half; half
English, half Tegalo, which is --

Q. Okay. Do you know whether there's more

than one dialect within the Philippines?

A. Yes.

Q. And those dialects don't understand each
other?

A. I can't speak to it.

Q. Okay. The part that you were able to

understand, were you able to understand some parts

being in English?

A. I do understand English, if that's the
question.
Q. well, I mean were you paying attention and

following what went along?
A. No.
Q. You know, I listen to a lot of speeches,

and I don't always pay attention to them.

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A. No, I was not. I was merely there
observing it.

Q. Okay. So you wouldn't be able to tell us
yes or no, from your knowledge, whether these CBA
booklets were in any way explained?

A. No, I wouldn't.

Q. And you would be -- unable to tell us

whether these CBA booklets were required to be read?
A. Repeat that question, please.
Q. Sure.

Many of the affidavits that your manning
agents have filed have stated that some of the
documents were required to be read, and that some of
these men -- you know Lope Perigotos (phonetic), for

instance? You know him?

A. Yes, I do.
Q. Have you read his affidavit in this case?
A. No, I have not.

I'm sorry. You're talking about something
different than I am talking about.
Q. Okay.
A. I'm saying that I have watched a
documentation process. I have not been part of the
predeparture orientation.

Q. Okay. what's the difference in the two, to

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your knowledge?
A. The predeparture orientation is where they

go through all the documents they have received, the

contract --
Q. Uh-huh.
A. -- the allotment note, the CBA, the

standard POEA contract, any travel information they
need, and a lot of other things that is required by
POEA as part of the predeparture orientation.

Q. Now, so I understand, you have --
distinguishing for us, you have not participated in

that predeparture orientation process?

A. No, I have not.

Q. Or, nor have you witnessed it?

A. No, I have not.

Q. So whatever you know about that is what

someone else told you?

A. I also know the requirements, but as to --
yes, by people telling me what they do.

Q. Okay. The process that you're describing
is called a documentation, so we can distinguish

between these?

A. Yes.
Q. Documentation process?
A. Yes.

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Q. And at this documentation process you'd be
unable to say whether the CBA was explained or read
by the seaman, anything other than handed out?

A. That's correct.

Q. Now, as to the five -- the ten seamen in
this case, did you witness or participate in the
documentation process for them?

A. I don't recall.

Q. So you'd be unable to tell us anything of
your own knowledge about the actual documentation
process or the predeparture orientation process for
any of the ten seamen in this case of your own
knowledge?

A. That's correct.

Q. And you have no knowledge or evidence that
the seamen, in general, did anything other than

receive a copy of the CBA?

A. AS I was not there, I -- yes, that's
correct.
Q. Okay.

MR. HUGGETT: Let me find that, Curtis.
Just a second.

Did you attach that to one of your many
documents?

MR. MASE: What's that?

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MR. HUGGETT: This CBA.

MR. MASE: I don't know. I can certainly
get it for you if it's an issue. Talking about
making a phone call.

MR. HUGGETT: No, you don't need to send
for it.

MR. MASE: I mean, I don't know whether we
did or didn't. To be frank, I wasn't aware that
the Norwegian Seafarer's Union CBA was going to
be a material issue. I mean I would think we
did. Heck if I know.

MR. HUGGETT: well, you attached it to
something.

MR. MASE: See if you've got it. If you
don't have it, I can make a phone call. tI'11
certainly get it for you.

MR. HUGGETT: well, we'll come back that.

BY MR. HUGGETT:
Q. Let's work around that.

Other than the fact that that CBA was

handed to the seaman on some occasion that you

wish -- watched, you have no -- no other knowledge or
information or evidence that they knew in advance of
the day that the money was deducted about this union

dues going to be deducted. would that be fair to

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say?

A. Yeah, that would be fair. That would be
fair.

Q. Okay. Now, number -- number three, asks
whether -- about, quote, the Tripartite working Group
which defendant contends prepared the document
containing the agreement to arbitrate upon which
defendants relied in removing these cases to federal

case and moving to compel arbitration. Have you read

that one?
A. Yes.
Q. Are you the person with the most knowledge

of that at NCL?

A. Probably.

Q. All right, sir. Do you have any knowledge,
personal knowledge or documentation which reflects
the dates that the Tripartite working Group met?

A. No, I do not.

Q. Okay. Do you have any documentation or
evidence or personal knowledge of the persons who

attended any meetings of this group?

A. No, I do not.
Q. Do have you any personal knowledge or
documentation of the -- whether or not there was a

transcript of the meeting, any of the meetings?

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A. No, I do not.
Q. Do have you any personal knowledge or
documentation of whether there are minutes, recorded

minutes of any of their meetings?

A. I do not.
Q. Okay. Do you have any documentation or
personal knowledge of -- of who attended any of these

meetings?

A. No, I do not.
Q. Do you have any personal knowledge or
documentation of -- of the agenda, or what these --

what any of these meetings discussed?

A. No, I do not.

Q. Do you have any personal knowledge or
documentation of rulings, decrees, or resolutions
that these ~- that any of these -- at any of these
meetings of this group?

Shall I rephrase that?

A. Please do.

Q. Do you have any personal knowledge or any
documentation of resolutions that this group might
have come to?

A. Well, yes, there are memorandums that come
out On occasions as a result of these meetings.

Q. All right. Okay. Do have you any of

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those?

A. with me, no, I don't.

Q. Do you have any in your office?

A. I probably do.

Q. Can you tell me in general what they
reflect?

A. Any time there's a change in the standard
terms and conditions on the POEA contract, they would
send out the memorandum informing us.

Q. Okay.

A. And informing the seafarers about that.

Q. And is that sent directly to you?

A. It would be sent to my office.

Q. Sent your office. Do you know what's the
Jast time you received one?

A. No, I don't.

Q. Do you know what's the first time you
received one?

A. No, I don't.

Q. Do you make any notation of what you
receive?

A. I'm not quite sure I understand what your
question is.

Q. well, do you either record that you've
received them or do you make notes or send out memos

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about what you've received?
A. Normally, not. I can would file it under
POEA.
Q. Okay. And do you have any knowledge of,

personal knowledge or documentary evidence of who was
at any of these meetings?

MR. MASE: which meetings?

MR. HUGGETT: Any of the meetings of the
Tripartite working Group, if I've pronounced it
correctly.

THE WITNESS: Tripartite.

MR. MASE: He wants to know if you have any

knowledge of the people who were there.
THE WITNESS: No, I don't.
BY MR. HUGGETT:
Q. Did I mispronounce it? How do you
pronounce it?
A. Tripartite working Group.
Q. Tripartite working Group, okay.

So -- and I take it then you have no
personal knowledge or documentary evidence of -- of
what groups or organizations attended those meetings?

A. No, I don't.
Q. And you have no personal knowledge or

documentation of whether these ten seamen attended

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any of those meetings?
A. No, I don't.

Q. It's probably your -- you have no knowledge

or documentation of whether these ten seamen in this
case even knew what a Tripartite working Group was?

A. No, I don't.

MR. HUGGETT: I want to be sure I'm saying
that name correctly, Curtis.

MR. MASE: which is that, Tripartite?

MR. HUGGETT: Yeah, it's in --

MR. MASE: No, I think Tripartite working

Group is the correct phraseology. That's the

way I always understood it.

MR. HUGGETT: Okay.
MR. MASE: So I think you all pronounced it
correctly.
MR. HUGGETT: I accept your --
MR. MASE: I'm not an expert on it, I'm the
first to tell you that.
BY MR. HUGGETT:

Q. Do you have any personal knowledge or
documentary of how long this Tripartite group has
been in existence?

A. No, I don't.

Q. Other than to receive some memos from them,

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do you have any personal knowledge of them?

A. Well, Tet me just clarify, the memorandums
do not come from the Tripartite Working Group.

Q. Oh, they don't.

A. It comes from the POEA.

Q. Okay.

A. This is the working group that formulates

the memorandums, and the memorandums are sent out by

the POEA.

Q. So other than receiving a memo from the

POEA saying that this is a memo from the "partite"

group, you have no knowledge of them?

A. It wouldn't say memo from the Tripartite

group. It would be a memorandum from POEA.

Q. Oh, okay. So I'm -- stand corrected then.

You've never received any document from the

Tripartite working Group itself?

A. No, I have not.

Q. what you are describing that you've
received is a memorandum or a letter ora
correspondence from the POEA stating that this
“Partite” group did something?

Did I understand it now correctly?

A. No.

Q. Make me understand it, or help me to

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understand it.

A. well, the -- I may be -- well, I hope I'm
correct in -- I'm assuming that the memorandum sent
out by the POEA is a result of the work done by the
Tripartite working Group.

Q. But it -- but the -- so we're understanding

each other, the paper, the memo that you're receiving

comes from the POEA?

A. Yes.

Q. It does not come directly from the
Tripartite working Group?

A. Exactly.

Q. So, the memos that you're talking about are
one group writing a memo about the actions of another
group; is that fair to say?

A. No.

Q. Then I guess I don't understand. You're

telling me that the POEA sends some memo that the
Tripartite working Group has taken some action, or
has done something, or considered something?

A. No, POEA have taken some action, presumably
as a result of work done by the Tripartite working
Group.

Q. why do you say "presumably"?

A. well, I'm not a participant in the meeting,

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so I can't state that as a fact.

MR. MASE: Okay. Neither one of us wants
you to speculate, so I'll just caution you as to
that.

BY MR. HUGGETT:

Q. Are you telling me that you really don't
know whether -- how, and by which the POEA refers to
the Tripartite working Group, it's just your
assumption?

A. No, that's not what I said.

Q. Well, I don't really understand what you're
saying. what I'm trying to ask you, and what I'm
trying to understand is: what's your source of

knowledge about what this Tripartite working Group

does?
Could you explain that?
MR. MASE: I'm going to object, no
predicate.

THE WITNESS: I don't want to speculate in
what they do.
BY MR. HUGGETT:
Q. well, that's not my question at all. My
question is: what's the source of your knowledge?
MR. MASE: AS to the Tripartite working

Group?

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MR. HUGGETT: Yeah.
THE WITNESS: The rules and regulation of
the POEA.
BY MR. HUGGETT:

Q. Okay. You've read some rules and
regulations of the POEA; is that correct?

A. That's correct.

Q. And does that -- those rules and
regulations refer to a Tripartite working Group?

A. Yes, it does.

Q. And does it refer to -- simply refer to the
group, or does it refer to action taken on such a
date?

A. It refers to the group.

Q. Okay. And can you give me any example as
to how, or when, or where, or why they refer to a
group?

A. I don't have the documents in front of me,
sO, no, I cannot.

Q. Okay. Are they separate organizations to
your knowledge or do you not know?

Let me be clear. If you don't know of your
own knowledge or of documents that you have, you can
just say I don't know.

A. I didn't quite understand your question.

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Q. Okay. Do you know whether or not these are
two separate organizations, the POEA and the
Tripartite working Group?

A. I don't know.

Q. Okay. would it be fair to say that
whatever you do know comes from reading the rules and
regulations of the POEA?

A. That's fair.

Q. Okay. Now, are the rules and regulations
of the POEA that you're referring to bound up in any
Single volume?

A. I don't know that for sure.

Q. Okay. Have you ever read them?

A. Yes, I have.

Q. what form did you read them in? was it an
email or was it a booklet?

A. They’ re available on-line.

Q. On-line, okay.

And do you know the web site or how to read
them? Is that how you read them?

A. I have read them on-line. I have read the
hard copy of them.

Q. Okay. They have a hard copy?

A. I have a hard copy.

Q. You have a hard copy?

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Okay. Is that dated?
A. I don't recall.
Q. Do you know whether these rules and
regulations change from time to time?
A. I don't know.
Q. Have they ever changed, to your knowledge?
A. Not that I recall.
Q. within your different jobs in the company,

which you described a few of at the beginning of this
depo, how long have you been dealing with the POEA?
Is that --

A. Like I said before, I don't deal directly
with POEA. we do all the dealing with POEA through
the manning agents.

Q. Okay. 1'‘'11 rephrase it.

what part of your job now calls for you to
learn or come into contact with or deal with the POEA
through your manning agencies?

A. Can you rephrase that?

Q. I'm trying to find out -- I take it back
when you were a radio officer, you didn't have any
contact or knowledge of the POEA?

A. Correct.

Q. Okay. At what point in time in your

various duties with the company did you begin to come

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into contact with the POEA?

A. when I started working in the human
resource department or -- I'm sorry, in ship
personnel.

Q. Ship personnel.

That was roughly in 2000?

A. Yeah, the end of 1999, beginning of 2000.

Q. when you replaced Mr. Bach?

A. That's correct.

Q. Okay. Now, could you tell me at this time
what duties that you have in regards to the POEA?

A. I'm not quite sure I understand exactly
what your question is.

Q. Okay. 1I'11 try to rephrase it.

what do you do, what are your job
requirements, what are you -- what are you acting on
in a day-to-day process in regards to anything
involving the POEA?

A. In the day-to-day work, I don't deal
directly with POEA. I make sure, at least try to
make sure that we comply with all the requirements of
the POEA.

Q. Okay. Is that part of your job, to make
sure that you're -- comply with their requirements?

A. Yes, it is.

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Q. Are you the head man, so to speak, for
that; the buck stops here?

A. I don't know.

Q. Okay. So then if we can then finish with
No. 3, the Tripartite working Group, your sole source
of information or knowledge of that comes through
things that you read as sent by POEA?

A. Can you repeat that?

Q. Yeah. Referring to the Tripartite working

Group, we've tried to talk about some of the things
that you know about it.

My question, trying to be a finalized

question is: Your sole source of knowledge of what
that group does or what it consists of, does that
come through things that you read as sent to you by
the POEA?

A. I think that's a fair statement.

Q. Okay. Now, let's move to No. 4.

MR. MASE: No. Let's take a little break
for a second. Stretch a little bit.
THE VIDEOGRAPHER: Standby.
(Thereupon, a brief recess was taken, after
which the following proceedings were had:)
THE VIDEOGRAPHER: And we're back on.

MR. HUGGETT: Read me the last question and

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answer.
(Thereupon, the pending portion was read by
the reporter as above-recorded.)
MR. MASE: Stretched?
THE WITNESS: Yeah.
BY MR. HUGGETT:
Q. Number -- I call your attention to No. 4.
It's in parts, so I'l] take it in parts.
Are you the person most knowledgeable
within NCL of the persons or entities who represented
Defendant Norwegian Cruise Lines or its interest in

the Tripartite working Group?

A. Yes.
Q. Okay. Are you the person most
knowledgeable who -- of, at NCL, who would know about

who represented NCL in drafting the document

containing the agreement to arbitrate?

A. yes.

Q. Okay. In the -- you may have answered this
in the prior question. In the -- do you have any
knowledge of whether NCL or its -- anybody

representing it, was represented on the Tripartite
working Group?
A. Yes. There was no representation from NCL.

Q. Okay. was there any representation of any

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of the manning agencies that you used?

A. I don't know.

Q. Okay. These manning agencies that we're --
these are like Magsaysay and CF Sharp?

A. That's correct.

Q. And there is a -- does -- there's a
financial relationship between the two entities?

MR. MASE: which entities?

MR. HUGGETT: The manning agencies and NCL.

MR. MASE: If by “financial relationship,”
your question, does NCL pay those agencies --

MR. HUGGETT: Yeah.

MR. MASE: -- I'll stipulate on the record
that they do. And I just -- the term "financial

relationship" sounds strange.
THE WITNESS: We have a manning agreement.
MR. MASE: Sure.

BY MR. HUGGETT:

Q. Okay. Did they do certain work for NCL, is
that correct, and in return they get paid a certain
amount of money?

A. They do certain things on behalf of the
Norwegian Cruise Line.

Q. Okay.

MR. MASE: And they get paid.

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THE WITNESS: And they get paid.
BY MR. HUGGETT:

Q. And they get paid for that?

A. Yes, they do.

Q. Now -- now, that document which contains
the agreement to arbitrate, are you familiar with
that?

A. Are you referring to Memorandum No. 9?

Q. Let me just phrase as it's in No. 4 there.

The document containing the agreement to
arbitrate upon which defendant relies in removing
these cases to federal court and to compel
arbitration?

MR. MASE: You're going to need to tell him
what that document is, because he doesn't know
what we relied upon --

MR. HUGGETT: You don't --

MR. MASE: -- aS an entity.

MR. HUGGETT: You don't know?

MR. MASE: You're going to have to ask him
to assume or something like that, because I
don't know that --

MR. HUGGETT: Let me find out.

MR. MASE: Sure. ASk him.

BY MR. HUGGETT:

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Q. Do you know --

A. You tell me which document it is, and I
will answer.

Q. Do you know what document as -- sitting
here today, do you know what -- what document that

your company, NCL, claims that seamen are supposed to

arbitrate under?
A. No, I don't.
Q. You don't?
A. No.
Q. Okay. who would know that?
A My attorney.

Q. Okay. Are any of your actions in complying

with the rules and regulation of the "POE" directed

towards seeing that seaman's claims are arbitrated?
A. Yes.
Q. Okay.
A. If you don't mind, if I can elaborate on
that?
Q. Please.
A. Part of doing business in the Philippines

1s that you have to be accredited with POEA. And
part of getting the accreditation is that we accept
that we will uphold and follow the laws of the

Philippines, as it pertains to their overseas

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workers.
Q. Okay.
MR. MASE: Are you finished?
THE WITNESS: I'm finished.
BY MR. HUGGETT:
Q. And thus, it's part of your duties to see
that any claims are arbitrated?
A. It's part of my duty to make sure that we
follow the -- the laws that we have accepted.
Q. Do you know which laws pertain to
arbitration that affect your company?
A. Yes, I do.
Q. which are they?
A. I'm assuming you're referring to Memorandum

No. 9 of 2000.
Q. Let me see that.
MR. MASE: I think he's actually asking
you, because he phrased that sort of as a

question. Sometimes it doesn't it sound like

it.

THE WITNESS: Okay.

MR. MASE: I think he's asking you what
laws pertain -- I'm going to paraphrase his

question for him. I think he was asking you

what laws pertain to arbitration that your

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company -- using his words -- is required to
enforce. I think that was kind of what he
asked.

MR. HUGGETT: I'll accept that.

THE WITNESS: Memorandum No. 9, paragraph 5
of 2000.

BY MR. HUGGETT:

Q. Okay.
A. And which was part of our accreditation.
Q. Okay.

MR. MASE: I know we -- I know we gave you
that.

MR. HUGGETT: Yeah, of course. I'm going
to look at it hopefully. Got so many documents.

MR. MASE: Think you have a lot of
documents now, wait until you see my merits
disclosure.

(Informal discussion off the record.)

BY MR. HUGGETT:

Q. All right. My question is then: I have
Memorandum Circular No. 9 in front of me. You're
familiar with that, I take it?

A. Yes, I am.

Q. And as the -- in your position as human

resources, you're inquired -- are you saying you're

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required to enforce this?

A. I'm required to make sure that we -- we
comply with the agreement we have with the POEA.

Q. Okay. And does this Memorandum No. 9 refer
to arbitration?

A. Yes, it does.

Q. Okay. I'm going to hand you mine and you
may look at --- and you can ~-- would you tell me
which paragraph refers to arbitration?

A. I'm sorry, I was mistaken. This refers to
the predeparture orientation seminar.

Q. To the predeparture orientation seminar, is
that what you said?

A. Yeah.

Q. Okay.

A. Or Briefing.

THE COURT REPORTER: or?
THE WITNESS: Or Briefing.
BY MR. HUGGETT:

Q. My question is: What persons or entities
within NCL knows about the drafting of the document
containing the agreement to arbitrate?

A. About the drafting?

Q. Yeah.

A. I don't know anything about the drafting.

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Q. You know nothing about the drafting?

Do you know anything about how the
agreement to arbitrate came about?

A No

Q. Do you know anything or have any personal
knowledge or any documentation about the formulation
and agreement of the final language of this agreement
to arbitrate?

A. No.

Q. Do you know anything about whether NCL had
any input into that agreement to arbitrate?

A. we had no input in that.

Q. You had no input?

A. No.

Q. How do you know that?

A. As being the, at the time, superintendent
of ship personnel, and now the director of human
resources, I would know if we did. we're not part of
the POEA, nor are we part of the Tripartite working
Group.

Q. Okay. $o you don't have any knowledge

then, or any documentation, as to whether these ten
seamen had any participation in deciding upon the
agreement to arbitrate?

A. No, I don't.

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Q. Okay. And NCL has, and you, as its

representative here, have no knowledge about whether

any of these ten seamen even knew about an agreement
to arbitrate prior to the time they got on the
vessel?

A. It's part of their contract --

Q. Okay.

A. -- which they sign prior to leaving the

Philippines.

Q. Okay. My -- and I think you have -- I have
a packet here, and would you take me through this
packet. This one relates to one of the seamen.

It has one page contract, Department Order

No. 4, Circular No. 9, and standard terms and
conditions. It's part of the attachments of your
company to the pleadings. You may want it show it to
your lawyer.

MR. MASE: When you say -- you want him to
take you through it, or you want to ask him
questions? I'm sorry.

MR. HUGGETT: I want to ask him questions
about it.

MR. MASE: Okay.

MR. HUGGETT: I'm identifying it.

MR. MASE: Of course.

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THE WITNESS: Okay.
BY MR. HUGGETT:

Q. what I've handed you is part of the
attachments of the defendant to its notice to
removal. we'll mark it when you're through and
attach it as Composite Exhibit 1.

Are you familiar with all those documents?
A. Yes, I am.

(The document referred to was thereupon
marked "Plaintiff's Composite Exhibit No. 1 for
Identification,” a copy of which is attached
hereto.)

BY MR. HUGGETT:

Q. And those documents, so we know in the text
what we're talking about, are a one-page contract of
employment relating to Abdi Comedia; a one page
Department Order No. 4; a two-page memorandum
Circular No. 9; one, two, three, four, five, six -- a
S1x-page NXA, called Standard Terms and Conditions
Governing Employment of Filipino Seafarers Onboard
Ocean-Going vessels; and a blank form, one page
contract of employment; and a document labeled
Department Order No. 5, Series of 2000, Department of
Labor and Employment.

You're familiar with those?

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A. Yes.
Q. Okay. Are you the person who would be most
knowledgeable of whether Defendant Norwegian Cruise

Lines participated at all in drafting those

documents?
A. Yes.
Q. Okay. Did Norwegian Cruise Lines have any

participation at all in drafting those documents?

A. NO.

Q. Okay. Do these documents contain the
agreement to arbitrate upon which the defendants rely
in removing these case?

MR. MASE: Objection. Calls for a legal
conclusion, lack of predicate.
THE WITNESS: AS I don't know what they
have relied upon, I can't answer that question.
BY MR. HUGGETT:
Q. Aren't you the person that is to decide

whether you're in compliance with these rules?

A. Okay. Yes.
Q. Then, are these the documents that -- that,
in your position as -- with human resources that you

would rely on in stating or believing or enforcing,
having the company to act as believing that they

would arbitrate?

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A. Uh-huh. Yes.
Q. Okay. Certainly you know that there have
been hundreds, if not thousands of Filipino seamen

that have brought regular tort claims and litigation
in the United States before?
MR. MASE: I'm sorry. Repeat that for me?
MR. HUGGETT: Yeah.
BY MR. HUGGETT:

Q. You're aware, aren't you, that there are
many, many Filipino seamen who brought claims for
injuries in Miami courts and didn't arbitrate?

MR. MASE: Objection to form. Lack of

qualification on the part of the witness.

THE WITNESS: If that's what you're telling

me, that's --
BY MR. HUGGETT:

Q. well, you know that for a fact, don't you?

A. I have not been involved in any cases
involving Filipino seafarers.

Q. Okay. Are you aware from any source that
Filipino seamen in the past have brought claims in

the United States for injuries? Surely you're aware

of that.
A. Yes.
Q. And is it part of your job or duties at

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this time, as a result of the documents that we're
looking at, to ensure that your company arbitrates
those rather than litigates those in Miami court?

A. It's part of my job to make sure that we
comply with the requirements we have in the
Philippines, and one of them is to arbitrate
disputes --

Q. Okay.

A. -- in the Philippines.

Q. when did that start?

A. I don't -- I don't recall.

Q. well, was it a month ago or many, many
years ago?

A. My involvement has been since 2000.

Q. Okay. And within the time that's your
involvement, when did they begin to require the

arbitration?

A. we have required it the whole time. It's
part of the process of being accredited, is that we

promise the Filipino government that we will comply

with their laws.

Q. And where did you promise that?
A. When we got the reaccreditation.
Q. All right. Is that in writing?
A. I have -- I have to look at the documents.

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Q. You don't know then sitting here today?

A. I know that one of the requirements for us
to be accredited as a principal, foreign principal
with POEA, we have to accept their Standard Terms and
Conditions.

Q. Okay. And my question is: Do you know

whether that acceptance and agreement is in writing

or not?
A. I don't know.
Q. Did you have anything to do with making

that agreement or that acceptance?

A. Yes, I did.

Q. Okay. And do you know when that was,
roughly?

A. we changed manning agents in -- I believe

it was in the summer of 2001.

Q. Okay. And at that time was that, to your
knowledge, the first time that NCL agreed to obligate
itself to arbitrate claims?

A. we agreed to comply with POEA's Standard
Terms and Conditions or exceed them.

Q. well, we're talking about arbitration as
one of those conditions now, and what I'm trying to
get at is: when did that begin, if you know?

A. I -- I don't recall.

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Q. You don't know?

was it during your period of time that
since you took the office of superintendent of
shipboard personnel in 2000 or '99, late '99?

A. I don't remember.

Q. And who would know that?

A. I -- I don't know.

Q. Okay. Is it your testimony that at all
times that you can recall since you've been -- since
late '99, when you assumed the role of superintendent
of shipboard personnel, that you -- that NCL has been
required to arbitrate any claims?

A. Yes.

Q. Okay. Do you Know whether there was a time
when arbitration was not required?

A. I don't know.

Q. Okay. And of the documents that you look
at, which one requires arbitration?

A. The standard POEA -~ POEA Standard Terms
and Conditions.

Q. Okay. And is there a particular number
within there?

A. Section 29.

Q. Okay. Now, what are your duties in regard

to seeing that these obligations in your hand are

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complied with?

A. I'm not directly involved in arbitration as
that is handled by our manning agents and their
attorneys --

Q. Okay.

A. -- on behalf of Norwegian cruise line.

Q. Are you involved in any aspect of enforcing
those doc -~- those rules and regulations, or those
terms of any of those documents?

A. Yes.

Q. which are they?

A. Pretty much all of them.

Q. Okay. And is there any other document that

requires arbitration besides this Standard Terms and

Conditions that you know of?

A. In our grievance procedure.

Q. What is your grievance procedure?

A. It's part of the -- part of the CBA.
Q. Part of the CBA.

And what does the grievance procedure say?
A. I -- I can't recall exactly what it states,
I would have to see it.
Q. Do you know, in general, what it requires?
A. I don't want to freestyle it. I would like

to have it in front of me.

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Q. By raising it, are you saying that there's
some requirements in there that Philippine seamen
arbitrate their injury claims, or you don't know?

A. It doesn't pertain to any -- it pertains to
all seafarers.

Q. Okay, all seafarers.

Are you saying that you believe there's
something in your grievance procedures in the CBA
that requires an arbitration of any seafarer, any or
all?

A. It outlines their right to file a grievance
through the union.

Q. Okay. Does it outline any other
procedures, to your knowledge?

A. I would have to see the document.

Q. Okay. Sitting here today you don't know
whether there are other procedures allowed under the
CBA?

A. No.

Q. Now, do you have any knowledge yourself, or
as the representative of NCL, how the terms of this
standard terms NXA were arrived at?

A. Can you repeat that?

Q. Yeah.

MR. HUGGETT: Yeah. Can you read that

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back?
(Thereupon, the last question was read back

by the reporter.)

BY MR. HUGGETT:

Q. That's the six-page document you have in
your hand.

A. The standard terms, and what? I --

Q. I'l] say it again. Do you have any

knowledge as to how the standard terms and conditions
governing the employment of Filipino seafarers
onboard ocean-going vessel was arrived at?

A. No.

Q. Okay. Did -- do you have any knowledge of

whether NCL or its manning agencies had any input

into what these terms are?
A. NCL did not have any opinion put on it.
Q. Okay.
A. I can't speak for the manning agency.
Q. Okay. So you don't -- so NCL has no --
nothing to do with it pursuant to your testimony --
A. That's correct.
Q. -- and your knowledge?

And you don't know whether the manning
agencies that represent NCL had anything to do with

arriving at these terms?

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A. That's correct.

Q. And likewise, you don't know whether these
seamen had anything -- these ten seamen in this case
had anything to do with arriving at those terms?

A. No, I don't.

Q. And, in fact, you don't have any knowledge

or documentation whether any seamen in the
Philippines had anything to do with negotiating or
arriving at these terms?

A. No, I don't.

Q. Now, No. 5, are you the person most
knowledgeable of whether any individual Philippine
seafarer has ever been allowed to negotiate the terms
of his contract of employment with Defendant
Norwegian Cruise Lines either directly or through its

manning agencies?

A. I would say so.

Q. you're the person most knowledgeable?

A. I would believe so, yes.

Q. And do you -- can you -~- do you have any

knowledge that any individual seaman has ever been
allowed to negotiate his terms?

A. No.

Q. They have not been allowed?

MR. MASE: Objection to form.

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THE WITNESS: I have no knowledge --
BY MR. HUGGETT:

Q. Oh, You have no knowledge, okay.

A. -- of ever being allowed to do that.

Q. You can't say yes or no whether any
Philippine seaman was ever allowed to change, modify,
negotiate any of these terms?

A. I can say to my knowledge, that has not
happened.

Q. Oh, okay, it's not happened? All right.

A. To my knowledge.

Q. Therefore, to your knowledge, as to all
Philippine seamen, if they want to work, they take
these conditions?

A. That's correct.

Q. Okay. For them, it would be --

A. I'm sorry. Can I clarify that? If they
want to work on Norwegian Cruise Line, that's the
contract we're offering.

Q. They got to take it or leave it?

A. If you want to put it that way, yes.

Q. Is that a yes or a no?

A. Yes.

Q. Okay. No. 6, are you the person most

knowledgeable about whether any individual Philippine

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seafarer has been allowed to negotiate the particular
argument to arbitrate, which I think you referred to
as No. 29 in the standard terms?

A. Am I the person who would have the most
knowledge?

Q. Yes.

A. I would think so.

Q. So you are that person?

A. I believe so.

Q. And to your knowledge then, the answer is
the same, no Philippine seaman has ever been allowed
to negotiate the agreement to arbitrate?

A. To my knowledge.

Q. Okay. And you're the most knowledgeable?
That's a yes?

A. I belteve so.

Q. All righty. Now, I may have asked you

this. Do you know approximately when the agreement
to arbitrate portion of this packet of papers came
into existence?
MR. MASE: Are you talking about the
Standard Terms and Conditions --
MR. HUGGETT: Yes, No. 29, specifically.
THE WITNESS: I don't recall exactly when

it happened.

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BY MR. HUGGETT:

Q. was there ever a time, even though you may
not recall the date, when it didn't exist, when that
wasn't a part of the package that NCL required?

A. It may have been in a different form, but
we have always given the seafarers the opportunity to
arbitrate and to file a claim with the National Labor
Commission in the Philippines.

Q. well, when you say "always," how far back

does that go?

A. well, as far back as I can speak, beginning
of 2000.
Q. Okay. Now, the way you've phrased it, I

need to ask you a Vittle further. You say "given
them the opportunity." Has it always, since 2000,
when you began to be knowledgeable, been required, to
your understanding, that they arbitrate?

A. If they have a grievance, yes, it has to be
arbitrated by the National Labor Arbitration Board in
the Philippines.

Q. well, let's broad -- let's be more
specific. If they have a claim for injuries based
upon an accident or negligence, a tort, is that
required to be arbitrated?

MR. MASE: Objection, calls for a legal

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1 conclusion. 13:11:19
2 THE WITNESS: I can't -- I can't speak to 13:11:20
3 that.
4 | BY MR. HUGGETT:
5 Q. You don't know? 13:11:23
6 A. I don't know. 13:11:24
7 Q. Okay. what you -- what you -- what you do [13:11:25
8 | know, and you are saying, is that any -- any 13:11:34
9 | grievance is required to be arbitrated? 13:11:37
10 A. Yes. 13:11:43
11 Q. Okay. And since you've been working -- 13:11:44
12 | since you've been knowledgeable since the beginning 13:11:50
13 | of 2000, there's never been any other means of 13:11:52
14 | bringing a grievance besides arbitration, like a 13:11:59
15 | lawsuit? 13:12:09
16 MR. MASE: Objection, calls for a legal 13:12:09
17 conclusion. 13:12:12
18 THE WITNESS: Has there been lawsuits since | 13:12:13
19 I started working, that's your question; yes? 13:12:15
20 | BY MR. HUGGETT:
21 Q. No, my question is to you -- since you've 13:12:18
22 | told us that you don't know really the procedures 13:12:20
23 | before the end of -- the beginning of 2000; is that 13:12:23
24 | correct?
25 A. That's correct. 13:12:25

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Q. So since you've become knowledgeable, since
the beginning of 2000, have there been any other
means available for a seaman to bring a grievance
besides arbitration?

A. Are you speaking of the Filipino seafarers?

Q. Good point. Yes, speaking of Filipinos.

MR. MASE: Objection, calls for a legal
conclusion.

THE WITNESS: Like I said earlier, the
arbitration clause may have been in a different
form at one point, but I -- I can't -- I can't
be more specific.

BY MR. HUGGETT:

Q. well, I'm just asking you to tell me what
you know or you don't know. Is it your knowledge, or
do you not know, since you've -- and I'm limiting my
question to the period of time since the beginning of
2000 -- that the only available means for a Filipino
to bring a grievance has been through arbitration?

A. I don't know.

Q. Don't know, okay.

Certainly you're aware and you know that

other nationalities are allowed to bring lawsuits for

grievances?

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1 Q. Norwegians, for instance, are allowed to, 13:13:49

2 | you being a Norwegian and a former representative of {13:13:53

3 | the Norwegian government? 13:13:56
4 A. Yes, I do. 13:13:58
5 Q. And that is correct, they are allowed to do [13:13:59
6 | that? 13:14:02
7 A. I -- I would assume so. 13:14:05
8 Q. why are Filipinos different? 13:14:12
9 MR. MASE: Objection to form. 13:14:15
10 THE WITNESS: Because it's part of their 13:14:20
11 contract that claims and disputes has to be 13:14:24
12 arbitrated in the Philippines. And us, being 13:14:27
13 accredited with the POEA, we have to abide by 13:14:32
14 that. 13:14:35

15 |} BY MR. HUGGETT:
16 Q. And it's your testimony that NCL, and you 13:14:41

17 | don't know about the manning agencies, had nothing to | 13:14:44

18 | do with how that requirement came about? 13:14:48
19 A. That's correct. 13:14:51
20 Q. And is it your testimony that the manning 13:14:54

21 | agencies may have had something to do, but you don't {13:14:56

22 | know? 13:14:59
23 A. I don't know. 13:14:59
24 Q. And you don't know whether any Philippines | 13:15:01
25 | seafarer has had anything to do with how that came 13:15:09

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about?
A. No, I don't.
Q. Okay. Your predecessor, Lou Bach, used to

go to court on occasion when lawsuits were tried. Do
you do that function?

A. I do a -- I've done depositions, yes.

Q. Okay. Have you ever gone to court and sat
in as the court representative?

A. No, I have not.

Q. Okay. And are you familiar that a number
of Philippine seamen have settled a claim for
injuries in litigation this very calendar year?

A. No, I'm not.

Q. You're not?

who, within the company, would know that?
MR. MASE: That they had settled cases?
MR. HUGGETT: Yeah.

THE WITNESS: Legal department.

BY MR. HUGGETT:

Q. Legal. Is that Mr. Kritzman or Mr. Lara?
A. Or Mr. -- I'm sorry.
Q. Lara. You know Mr. Richard Lara?

MR. MASE: Richard's outside. He works in
my firm.

MR. HUGGETT: I know he does, but he also

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meets on all these committees that he meets
with, doesn't he?

THE WITNESS: I -- you lost me.
BY MR. HUGGETT:

Q. Oh, come on. Let's look at back at this
protocol that we looked at the last time we took your
deposition.

A. Oh, is that what you're talking about?
Okay.

Q. Richard Lara --

A. Yes.

Q. -- regularly meets with you and Nil Nordh

and others concerning company legal matters, does he
not?
MR. MASE: Well, don't answer that
question.
MR. HUGGETT: Don't answer that. Okay.
BY MR. HUGGETT:
Q. Okay. And does Mr. --
MR. MASE: Attorney/client privilege.
BY MR. HUGGETT:
Q. Does Mr. Kritzman also regularly meet with
you and other members of the company concerning
seaman union matters?

MR. MASE: You can answer if he regularly

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meets with you, but not what the topic is. The

question is going to be modified to protect the

attorney/client privilege: Does he regularly
meet with you?
THE WITNESS: Robert Kritzman or Richard

Lara?

MR. MASE: Kritzman is who he's talking
about.
THE WITNESS: Kritzman?
MR. HUGGETT: Kritzman, yes. Is that a yes
or a no?
THE WITNESS: we meet regularly.
BY MR. HUGGETT:
Q. Okay.
A. Or we did, at least up till he --
THE COURT REPORTER: I'm sorry?
THE WITNESS: Yeah, we do meet regularly.
BY MR. HUGGETT:

Q. Okay. Now, are you aware that in the
calendar year of 19 -- of 2003, that NCL has settled
numerous claims of Filipino seafarers who are
claiming injuries through the court system of the US?

A. I have not been involved in any of them,
no.

Q. well, you are involved in other case, just

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not Filipinos?

A.
Q.
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Q.

I'm involved in some cases.
None of them involve Filipinos?
Not that I can recall.

well, do you know why that a number of

Filipino seamen have been able to settle their claim

in litigation and not arbitrate, as recently as 2003?

A. No, I -- I don't know.

Q. you don't know that?

A. No.

Q. Do you know of any Filipino seafarer who
has successfully rec -- arbitrated a claim and

received money from NCL in the year 2003?

A.

Q.

I'm sorry. Can you rephrase it?

Do you know of any Filipino seafarer who

has successfully arbitrated a claim against NCL and

received money in the calendar year 2003?

A.
Q.
A.
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amount of

A.

Q.

Yes.

How many?

I couldn't tell you. I don't know.

Do you know the number -- Do you know the
money paid?

No.

Do you have any personal knowledge of that

or is that just what somebody told you?

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A. No, I have personal knowledge of it.

Q. Can you tell me what your personal
knowledge is?

A. I get copies of the -- of the decisions by
the National Arbitration, the Labor Arbitration
Board.

Q. Okay. And does that include the appeals?

A. Yes.

Q. Okay. And do you oversee whether anybody
actually received any payment?

A. No, I don't.

Q. Do you know whether any seaman actually
received any payment?

A. Yes, I do.

Q. Okay. Can you tell me your knowledge of
that?

A. I received copies of the correspondence.

Q. Now, you told me about decisions of a court

and correspondence. who is the correspondence from?
A. From our --
THE COURT REPORTER: From?
THE WITNESS: From our attorneys in the
Philippines to our attorneys.
BY MR. HUGGETT:

Q. That would be Del Lasario's firm?

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A. It could be, not necessarily. It could be
either Magsaysay attorney, it could be the attorney
for CF Sharp.

Q. But you frequently correspond with the Del
Lasario firm?

A. I do not, no.

Q. Does that -- do you receive correspondence

from them?

A. Rarely.

Q. Sometimes?

A. I may have. I don't know.

Q. Can you tell me who represents the Pp & I

Club, the insurance company in the Philippines?

MR. MASE: If that knowledge flows from
conversations which you've had with me or other
attorneys in my office, do not answer on the
basis of the attorney/client privilege.

THE WITNESS: I know Pandiman (ph) is P & I
Club representative.

BY MR. HUGGETT:

Q. I understand about Pandiman. My question
is: Do you know, based upon your knowledge of long
working, at Teast since 2000, that mr. Del Lazaro's
firm represents the insurance company, don't you?

you know that, don't you?

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Do I know that? yes, I Know that.
Okay. And from time to time he has

ed or acted on behalf of Norwegian Cruise

I don't know that.

you don't know that?

No.

You don't know whether he is in this case?
I believe he is.

Okay.

(Thereupon, a brief recess was taken, after
following proceedings were had:)

MR. HUGGETT: what did I ask last?
(Thereupon, the pending question was read
porter as above-recorded.)

MR. HUGGETT: And the answer was?

(Thereupon, the pending answer was read by

the reporter as above-recorded.)

BY MR. HUGGETT:

Q. Okay. No. 7, are you the person with the
most knowledgeable -- most knowledge of whether any
Philippine seafarer was ever able to eliminate from

his contract of employment the agreement to

arbitrate?
A. I believe I am.
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Q. And do you know if that's ever happened?

A. Not to my knowledge.

Q. Okay. And are you able to explain then how
or why various Philippine seamen in the year 2000
have successfully brought claims in US courts?

MR. MASE: Objection, calls for a legal
conclusion on the part of the witness; lack of
qualification.

THE WITNESS: I'm not.

BY MR. HUGGETT:

Q. You're certainly aware that other offices
besides mine have represented Philippine seamen? I'm
not the only guy in town.

A. Do I have personal knowledge? No, I know
you're not the only -- but I have no personal
knowledge of -- knowledge of who has represented
Filipino seafarers.

THE COURT REPORTER: I'm sorry?

BY MR. HUGGETT:

Q. In claims against NCL, let's put it that
way. Are there other lawyers besides me that have
ever brought claims for Philippine seamen against
Norwegian Cruise Lines Since you've been in your
position in the beginning of 2000?

A. I believe so.

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Q. Okay. And my particular office has settled
four cases involving Philippine seamen, Jaime Aquino,
Armando Salvo, Diasato Cinco, and Jose Portasa, in
the year 2003, all of whom are Filipinos, and all of
whom brought a claim in the United States courts.

Do you know whether or not those seamen
that I've just mentioned, who actually received money
from NCL for claims, tort claims, were able to
eliminate from their contract the agreement to
arbitrate?

A. I have no knowledge of any of those people,
and I have no knowledge of their contracts.

THE COURT REPORTER: Of their?

THE WITNESS: Contracts.

BY MR. HUGGETT:

Q. All right. what's the first occasion that
you ever heard about or can recall that NCL attempted
to remove the cases to federal court and send them to
the Philippines for arbitration?

MR. MASE: I'm sorry. Say that -- what's

the first occasion he can recall?

MR. HUGGETT: Uh-huh.

MR. MASE: If that information comes to you

through attorneys for NCL, I'm going to instruct

you not to answer that. If you have other

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knowledge, go ahead and answer.

THE WITNESS: I think I saw it on the news.
BY MR. HUGGETT:

Q. Okay. Obviously, you're not -- I've
misphrased my question. I'm not speaking of this
case. Maybe you were.

My question is: what's the first occasion
that you know of that NCL has attempted to remand --
to send a case to federal court for the purpose of
enforcing arbitration in the Philippines, in any
NCL-Filipino claim?

A. Like I said earlier, this is probably the
first case, because I have not been involved in any

cases involving Filipinos.

Q. Okay. So this is the first case that you
know of?

A. Yes.

Q. All right. And other than the lawyers, is

there any person more knowledgeable than you of that
matter, eliminating lawyers?

A. Probably not.

Q. Okay. So you would be, aside from the
lawyers with the company, you would be the person
most knowledgeable of -- of attempts by NCL to take

the case, a Filipino's case to federal court and send

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it to the Philippines for arbitration?

A. That -- that, I don't know.

MR. MASE: Objection to the form of the
question.
BY MR. HUGGETT:

Q. Do you know if you're the most -- person
most knowledgeable of that, aside from attorneys?

A. I can't answer that question.

Q. Is that because you don't know?

A. I don't know.

Q. Do you know of anyone else within NCL that
deals with the claims by Filipino seamen, excluding
the lawyers, of course, besides yourself?

A. other people?

Q. Yes.

A. Yeah, there could be several other people.

Q. And who would they be?

A Toni Gartland would be one of them.

Q. Okay. who else?

A. George Chesney.

THE COURT REPORTER: George --
THE WITNESS: Chesney.
BY MR. HUGGETT:
Q. Anyone else?
A. Could be a thousand other people. I just

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don't know.

Q. These are the ones that you know?

A. Yeah.

Q. Okay. And these are -- Toni Gartland is
basically a claims adjuster?

A. No, she’s not. She's director of human
resources.

Q. Okay. Director of human -- how long has
she been in that position?

A. I don't know.

Q. was she a claims adjuster at any time?

A. Toni Gartland?

Q. Yeah.

A. No, not to my knowledge.

Q. Okay. Is she above you or below you in the
hierarchy?

A. we're Cindicating) --

Q. Equal?

A. -- on the same level.

Q. Okay. And what is Mr. George Chesney's
position?

A. He's vice president of human resources.

Q. He's under you in the chain of command?

A. No, he's above me.

Q. oh, okay. I'm sorry.

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Tell me the name of your position again.
A. Director of human resources.
Q. Okay. And you report to Mr. Chesney then?
A. Yes, I do.
Q. All right.

THE VIDEOGRAPHER: I need to change the
tape.

MR. HUGGETT: Okay. we'll take a break to
change our tape.

(Thereupon, a brief recess was taken, after
which the following proceedings were had: )

THE VIDEOGRAPHER: We're back on tape.

MR. HUGGETT: Okay. Be sure to attach that
document, please, madame reporter. I usually
forget.

what was the last question and answer so I
can --

(Thereupon, the last question and answer
was read by the reporter as above recorded.)

BY MR. HUGGETT:

Q. Oh, yes. Okay. Was Mr. Chesney the
individual who was with you on the day you were
talking to my clients in the hospital?

A. which day are you referring to, when you

and I met?

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Q. Yes.

A. Mr. Chesney was there, yes.

Q. Okay. Now -- all right. I think I asked,
but let me finish it.

Is there any other person that would

know -- have more knowledge about why certain
Filipino seamen have been able to bring a claim
without arbitration in the current period of time,
and why some are not?

A. I don't know.

Q. you don't know who that person would be?

A. I don't know if there would be anybody or

who it would be.
Q. Okay. Is there --
A. Excuse me.
MR. MASE: Hang on a second. He's going to
get something to drink. He's coughing.
THE WITNESS: I'm sorry.
BY MR. HUGGETT:
Q. Is there anyone within the NCL who is in
charge of, or responsible for, or has the most

knowledge of handling seamen's claims?

A. Our legal and claims department.
Q. And who is the head of that?
A. Robert Kritzman.

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Q. Okay. You said that like there may be
someone else?

MR. MASE: There's a little bit of a
question here, and I think Mr. Hjartnes doesn't
know exactly how to answer the question.

During the relevant time period to which
you are referring, Robert Kritzman was the
general counsel of the company.

Today, the general counsel of the company
is a fellow by the name Mark warren,
W-A-R-R-E-N. He would be the individual who is
in charge of the legal and claims department.

MR. HUGGETT: Is he a lawyer?

MR. MASE: Yes.

MR. HUGGETT: Where did he come from?

THE COURT REPORTER: I'm sorry.

MR. MASE: You don't put this on.

MR. HUGGETT: You don't have to put that
on.

(Thereupon, a brief discussion was held off
the record.)

MR. HUGGETT: Okay. On the record.

BY MR. HUGGETT:
Q. No. 8, if you'd look at that. Do you have

any knowledge -- are you -- are you the person most

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knowledgeable, if anyone, in NCL who would have names

and addresses of union representatives which may have

represented the seamen in negotiating the agreement

to arbitrate?

A.

Q.

A.

A.

Q.

Probably, yes.

And do you know of any such persons?
Yes, I do.
Okay. who would they be?

Captain Oca.

How do you spell it?

O-C-A.
Okay.
Gregory Oca.

Okay.

He's a member of the Board of the POEA.

Okay. Anyone else?

Not that I know of.

Okay. The only person you know that

claims, or to your knowledge represents seamen in

negotiating the agreement to arbitrate is this

Gregory Oca, O-C-A?

A.

Q.

That's the only one I know of, yes.

And are there any others that you've heard

about that you don't know their names?

A.

No, there's not.

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Q. All right. And what is -- now, you say
Gregory Oca is a member of the POEA?

A. He's a -- he's a Board -- a member of the
Board of the POEA.

Q. Do you know who all the Board is?

A. off the top of my head, no, I don't.

Q. And what is Mr. Gregory Oca'’s employer?

A AMOSUP. He's the president of AMOSUP.

Q. Okay. And do you know his background?
When you say captain, is he seafarer?

A. He's a sea Captain, yes, he is.

Q. Okay.

A. He's long retired.

Q. Do you know who employed him when he was a
sea captain?

A. I don't know.

Q. Do you know if he ever worked for NCL?

A. No, he never worked for NCL.

Q. How do you know that?

A. I think I would have known if he did work
for NCL.

Q. Is he a Filipino?

A. Yes, he is.

Q. Does NCL have any Philippine captains?

A. In a position of captain, no, we don't.

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Q. Have they ever, to your knowledge?
A. Not to my knowledge, no, they're not.
Q. I think we discussed AMOSUP under No. 2,

but just to be sure, you have no knowledge or
information that any of these ten seamen had any
connection to AMOSUP?
MR. MASE: when you say "any connection,”
would that -- I mean he already testified he
thinks they're in it.

MR. HUGGETT: I don't think he quite said

that.

MR. MASE: I'm sorry. Maybe you should ask
him.

MR. HUGGETT: I'11] -- I'll reask the
question.

MR. MASE: Okay.
BY MR. HUGGETT:

Q. Do you have any -- would you be the person
most knowledgeable of, in NCL, of relations with
AMOSUP or knowledge about AMOSUP?

A. I believe so, yes.

Q. Okay. Do you have any evidence or
documents that you know of that indicate that these
ten seamen are members of AMOSUP?

A. Like I've said before, five of them are

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aware, members of AMOSUP.

Q. Oh, yes. And those -- and your only
knowledge there was because union dues are deducted?

A. No, that was not my testimony.

Q. Okay. I guess my memory is getting old.

Do you have any knowledge whether the five
deck and engine crew ever went to an AMOSUP meeting?

A. No, I don't.

Q. Do have you any knowledge or evidence
whether any of the five deck and engine crew which
union dues are deducted from ever voted in an AMOSUP
vote of any kind?

A. No, I don't.

Q. Do you have any knowledge or evidence
whether those Philippine seamen that you state are in
the deck and engine department and get deductions
made ever attended any AMOSUP meeting?

A. No I don't.

Q. Do you have any knowledge or information
whether any of those five seamen had a union card?

A. No, I don't.

Q. Do you have any knowledge or evidence that
any of the five seamen in the deck and engine crew
that we're talking about here had ever heard of

AMOSUP?

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A. No, I don't.

Q. Okay. Do you have any knowledge that any
of the five seamen involved here had ever met
Mr. -- Captain Gregory Oca?

A. No, I don't. Can I elaborate on seafarers’
relationship with AMOSUP?

Q. If you'd like. Your privilege is to
explain your answer.

A. Okay. AS you know, I've have been in this

business for quite some time and have traveled to the
Philippines many times, and I can tell you that every
Filipino seafarer from the deck and engine
department, the deck and engine department knows
exactly what AMOSUP 1s and what they stand for and
who they are.
Q. Really?
A. That's where they go and get their
Provident books validated.
Q. Their which books?
A. Their pension fund books validated.
THE COURT REPORTER: what did you say?
THE WITNESS: Provident fund.
BY MR. HUGGETT:
Q. Okay. Now --

A. But do I have any specific knowledge as to

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these five individuals, no, I don't.

Q. Okay. Now, what's the basis for your
statement that you know for -- that you know that all
the Filipino seamen know what AMOSUP is?

A. That's a personal opinion.

Q. Oh, it’s an opinion.

A. Yes.

Q. Can you tell us what it's based upon?

A. Based on my experience.

Q. well, can you give me an example?

A. I have met with a lot of seafarers from the
Philippines, particularly deck and engine, and at
Teast I haven't met one to date that doesn't know
what AMOSUP is.

Q. So your testimony is they know what it is?

A. Yes.

Q. Okay. But as to these, any of these in
this case, you don't have any knowledge?

A. I have no personal knowledge.

Q. Okay. Do you know if any -- do you have

any knowledge or documents whether any member of
AMOSUP ever explained to these ten seamen their
rights or obligations?

A. No, I don't.

Q. Do you have any knowledge whether any

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AMOSUP member ever discussed with these ten seamen
anything about arbitration?

A. No, I don't.

Q. Do you have -- okay, eight.

Number nine, are you the person with the
most knowledge of the names and addresses of any POEA
representatives participated in negotiating the
agreements to arbitrate that the defendants presently
seek to enforce against the subject seafarers?

A. Probably.

Q. Okay. And can you tell me who; what those
names and addresses are?

A. No, I cannot.

Q. You did mention that Mr. Oca was a member
of the Board of the POEA. would he be one of those
representatives who participated in negotiating the
agreement to arbitrate, or you don't know?

A. I don't know.

Q. you don't know, okay.

you have then no knowledge or no
documentary evidence of who within the POEA did the
negotiating of agreements to arbitrate?

A. No, I don't.

Q. Do you have any knowledge of who within the

POEA formulated or drafted this agreement to

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arbitrate?

A. No, I don't.

Q. Do you know whether or not anyone, any one
of these ten seamen involved here, had any
participation in negotiating that agreement to
arbitrate?

A. No, I don't.

Q. Okay. Number ten, are you the person
within NCL with the most knowledge of the
circumstances under which the subject seafarers,
meaning our claimants here, entered into the
contracts of employment with Defendant Norwegian
Cruise Line?

A. Can you explain the word "circumstance" --

Q. Yeah.

A. -- what you mean by that?

Q. How, the method, the manner, the dates, the
times, the places, the who was there, where they
were, things like that, what they were told?

A. I wasn't there, so I can't tell you. And
to my knowledge, nobody else from NCL were there at
the time of their actual employment.

Q. Okay. Do you -- have you read the
affidavits which are attached of various manning

agencies which represent NCL, which are attached to

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this case?
A. NO, I have not.
Q. Okay. I'm looking at a packet of them
which were filed with me Tuesday. There's an

affidavit of Lope Paragotos. Now, you know who he

is, right?

A.
Q.
CF Sharp.
A.
Q.
CF Sharp.
A.

Q.

Yes, I do.

And there's one of Nicholas Torres from
You know who he is?

Yes, I do.

And there's Hapey Ballaga (ph) from

Ballaga. Ballaga.

Ballaga. Is that a man or a woman?
Man.

My Spanish pronunciation.

MR. MASE: Wasn't bad.

MR. HUGGETT: Ballaga. Okay.

THE WITNESS: what did you say, Ballaga?

BY MR. HUGGETT:

And Jack Jickie (ph), Jickie Illagon (ph).

How do you say that?

Jickie Illagon.
Jickie Illagon --

Yes.

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BURY, REIF & APPLEBAUM (305) 373-8404

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Q. -- of CS Sharp, you know that person?
A. Yes.
Q. A man or women?
A. Man.
Q. These are all men, okay.
And Herbert Tria, you know him?
A. I'm sorry?
Q. Herbert A. Tria, an associate of the law
firm of Del Rosario & Del Rosario.
A. I don't know who that is.
Q. And do you know Patricia A. Santo Tomas?
A. Yes, I know who it is.
Q. Do you work with her --
A No, I don't.
Q. -- in the course of your work?
A. No, I do not.
Q. And do you know Maidsel Carpio (ph)?
A. No, I don't.
Q. who is the assistant manager of Magsaysay?
A. what did you say the name was?
Q. Here, I'll hand you an affidavit. Maybe I

mispronounced that Philippine name.

A. Maidsel Carpio -- no.
Q. Don't know her?
A. I don't know her.
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Q. who's the person within NCL that deals the
most frequently with the manning agencies regarding

Filipino seamen?

A. That would probably be me.

Q. Okay. And you don't know this person?

A. No. I can't even say I've seen the name
before.

Q. All right. Now, you've read none of their

affidavits?

A. No, I have not.
Q. Okay. AS to those persons that you know --
we've just gone over their names -- would they be the

ones that might know the circumstances under which
the subject seafarers entered into contracts of
employment with NCL?
MR. MASE: Object to form. Lack of
foundation.
You can answer.
THE WITNESS: Probably.
BY MR. HUGGETT:
Q. Okay. Do you -- does NCL pay these people
to negotiate the circumstances? I mean to conduct
circum -- conduct the entering of contracts of

employment?

A. Yes, we do, we pay them a processing fee.

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Q. Okay. And is that by -- by person?
A. Yes, by person.
Q. x dollars per seaman?
A Yes.
Q. And do you in any way monitor how they do
it, or what they do?
I'l] rephrase.
Does NCL in any way monitor or supervise
the manner and the method in which its agents, the

manning agencies, like Magsaysay, process the seamen
in entering their contracts of employment?
A. I'm not quite sure I understand the

question you're asking.

Q. Okay.

A. Do we physically monitor them? No, we do
not.

Q. Okay.

A. But do we follow-up and make sure that the
proper paperwork is attached to -- with the contracts

with whatever they bring aboard, yes, we do.

Q. So NCL does see that you have the proper
pieces of paper?

A. That's correct.

Q. Other than that, do you do any checking or

monitoring as how, why, and under what circumstances

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those papers are entered into?
A. we visit the manning agents frequently, and

we go through their procedures; in other words, we --

you want to call it audit them, yes, we do.

Q. And do you ever check on what they tell the
people about their rights and their obligations?

A. we --

Q. would that be your job to do that?

A. It could be.

Q. Have you ever done that?

A. I have gone through their predeparture
orientation, the contents of what they -- what they
go through.

Q. Correct me if I'm wrong, you told us
earlier that you had -- you tell us now that you've
gone through the contents of the paper of what they
do, but you've never seen one happen; is that
correct?

A. Exactly.

Q. Do you know of any NCL people that have
ever monitored the actual happening of one of those
predeparture orientation meetings?

A. I -- NO.

Q. So it would be fair to say that you have no

knowledge what of your agents actually do or say to

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the seamen within the actual predeparture orientation

meeting?
A. That would be correct.
Q. And you have -- it would be fair to say

that you have no knowledge of, other than seeing the
piece of paper, of what they actually say to the
people, or promise to the people, or talk to the
people, to the seamen?

A. well, I think we have to go on the
assumption that they follow the outline of what they
tell them during the predeparture orientation.

Q. Yes. By that you mean you rely on the
piece of paper that they tell you that they follow?

A. I rely on the people.

Q. But you've never, you, nor anyone you know
of, have ever actually checked to see if they do what
they say they're doing on paper?

A. I said I have not, and I don't recall
anybody else having done it.

Q. Okay. Now, looking at number 11, it's
Similar to ten. It asks, number 11 asks if you're
the person most knowledgeable at NCL of documents
that were furnished to the subject seamen as their

contracts of employment, and by whom and when, and

are you that person most knowledgeable?

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A. Probably.

Q. Okay. And you're appearing here today as
that person?

A. Yes.

Q. Okay.

MR. MASE: Same person.

BY MR. HUGGETT:

Q. And is it -- would it be accurate then, as

before, that you have no knowledge of what documents
were furnished to them, by whom, other than seeing
the documents after the fact?

A. That's correct.

Q. Okay. Looking at the Exhibit 1 that you
have there, which refers to a packet of paper for

Abdi Comedia, is it your understanding that his

contract of employment was signed March 25th of 2003;

is that -- or March 10th?
I see those two dates on the front there.

Can you help me understand which was the date that
he, quote, signed the contract?

A. It appears to me that he signed the
contract on March 10th.

Q. Okay. Is this the basic document signed
March the 10th that this seaman, Abdi Comedia,

obligated himself to follow those rules and

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regulations set out and receive that money?

A. I'm sorry?

Q. Is this -- is this the contract that Abdi
Comedia signed?

A. It appears that way.

Q. Okay. Are there any -- okay. Now,
attached to that is department order four, and
memorandum circular nine; is that correct?

A. Yes.

Q. what you know -- what you, as the corporate

rep here know about these is simply that you received

.these papers after some point after he had signed

them; is that correct?
A. That's correct.
Q. And you didn't -- we've already established

that you didn't monitor or oversee the actual

Signing?
A. That's correct.
Q. Now -- and we see that the -- or at least

it appears to us here after the fact that the date --
the date on the -- at least the only date that I see
on the, quote, standard terms and conditions
governing the employment of Filipino seafarers --

THE COURT REPORTER: I'm sorry. Governing

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MR. HUGGETT: Yeah, I want to just --
BY MR. HUGGETT:

Q. -- standard terms and conditions governing
the employment of Filipino seafarers onboard
ocean-going vessels is the date of March 25th; is
that correct?

A. That's correct.

Q. Is it your understanding, as the person
most knowledgeable, that Abdi Comedia signed this --
these standard terms?

A. Yes.

Q. Okay. He's supposed to, at any rate?

A. I'm sorry?

Q. He iS supposed to sign them?

A Yes, he is.

Q. Is he supposed to sign memorandum --
department order number four?

A. I don't know ~- I don't know, and I don't
think we have a requirement to sign that one.

Q. Okay. Do you have any knowledge personally
as to whether department order number four was
explained to him?

A. It's part of his contract, so I would -- I
would -- I don't know.

Q. Okay. Do you have any knowledge whether

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memorandum circular number nine, series of 2000, two
pages, was explained to the seamen?

A. None other than we rely on our manning
agents to do that on our behalf.

Q. Okay. would it be your understanding then
that this packet of papers is signed and explained on
different days?

A. I honestly don't have an opinion on that.

Q. Okay. Does it -- well, we -- you've told
us that you don't monitor the process other than to
rely on the manning agencies, but that you do receive
papers afterwards and check on them?

A. Yes.

Q. Therefore, in receiving this packet of
papers for Abdi Comedia, does it appear to you in
examining them afterwards that he has signed them on
different days?

A. Yes.

Q. And would it appear then, in monitoring
them afterwards, that he signed his contract before
the standard terms and conditions are explained and
Signed?

A. I -- I don't know. I don't know the answer
to your question. It may have been explained. It

was -- it appears to be signed on a different day,

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but whether it was explained or not, I can't answer
to that, but if you read the contract, the POEA
standard terms and conditions is part of his
contract.

Q. Right. And my point is, it does appear
that he signed his contract and put his John Henry on
the dotted line before the fine print of the standard

terms were either explained or signed?

A. I wouldn't say that. I can't make that --
Q. You don't know that, do you?
A. I can't make that qualification that it

wasn't explained.
Q. I didn't say it wasn't explained, I said

that there was different dates.

A. Yes.
Q. Okay. And it does appear -- you only
Know -- you weren't there?
A. Exactly.
Q. And you didn't monitor, right? You only --

you only can review the papers afterwards?

A. Correct.

Q. And the review of the papers afterwards
tells us only that he signed his contract March the
10th, and that he signed the standard terms and

conditions containing the arbitration contract some

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15 days later, correct?
A. Can I draw that conclusion from this? No,
I cannot.
Q. No, 1s that what appears -- is that what

these papers show us?
MR. MASE: Objection to the form of the
question.
THE WITNESS: All I can tell you is that it
was approved by POEA on the 25th of March.
BY MR. HUGGETT:

Q. Okay. Now, that's -- okay. That's the
date that the stamp is on the front page, right?

A. And also on the third to the last page.

Q. Okay. Do you -- do you know, other than
the 25th, what date the seafarer signed it?

A. No, I don't.

Q. All right. Let's look at No. 12. Are you
the person most knowledgeable at NCL of the manning
agencies used by or acting for NCL in connection with
discussing the -- either the regular terms or the
amended terms and conditions governing the employment
of Filipino seafarers as referenced in memorandum
circular number nine?

A. I would think I am, yes.

Q. Okay. And who are the various manning

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agencies used by NCL in discussing the amended terms
and conditions?
A. CF Sharp for deck and engine, and

Magsaysay, M-A-G-S-A-Y-S-A-Y, for catering.

Q. Any others?
A. In the Philippines, no.
Q. Okay. And do you know who within those

manning agencies discusses these amended standard
terms with the Filipino seamen?

A. I know of a number of people that may
partake, but, no, I don't know exactly who. I know
who signed this contract with Comedia, which is Lope
Paragatos.

Q. Uh-hmm. Other than reading it here on the
paper afterwards, do you have any knowledge of who
actually signed with any of these ten men?

A. No, I don't.

Q. Do you have any knowledge who actually did

the discussing or the explaining of the amended

terms?
A. No, I don't.
Q. Now, looking at No. 13, are you the person

most knowledgeable of the procedures used by NCL to
comply with paragraph five of memorandum circular

number nine in connection with employing the

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seafarers?
A. Probably.
Q. Okay. And can you tell me what NCL does to
require that its manning agencies comply with No.
9 -- No. 5 of memorandum circular nine?
A. we require that they comply with the POEA

requirements. I know at CF Sharp we receive a
document stating that crew member named X, whatever
his name is, has gone through the predeparture
orientation as required by POEA.

Q. Okay. And is that also that you simply
receive paperwork afterward and review it? Is that

the extent of the procedures used to insure that they

comply?
A. No, not entirely. I mean we -- part of our
agreement with the manning agent is that they -- they

comply with POEA requirements. They're also being
audited by POEA on a regular basis.

Like I said earlier, we visit them quite
frequently, we discuss procedures with them. So I
think we base our part of compliance on a variety of
things, not just a piece of paper.

Q. Okay. But you never sit in on those
discussions, is that correct, to your knowledge?

A. No, I do not.

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Q. Okay.

A. Have I seen them take place? Yes, I have.

Q. you told us you had seen the document --
let me make sure I get it correct. You had not seen
the predeparture orientation --

A. No.

Q. -- but you had seen a -- what was it, a
documentation day, or what was your word?

A. That was not my testimony. I said I have
-- I have not sat in on a predeparture.

Q. Okay. Not sat in on one?

A. Exactly. I haven't --

Q. Now, when you say you've -- are you now

saying you've seen one?

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I have seen them take place.
Oh.
I have not participated in one.

You mean you saw a bunch of men walk ina

Yes.

-- somebody from the --

Actually they are already sitting there.
Okay. And what did you see?

The representative from the manning agency

g the presentation and going through all the

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predeparture --

Q. Okay. But you didn't --

A. -- documentation.

Q. -- listen?

A. No, I didn't.

Q. Okay. You have no way to tell us what he
said or that kind of thing?

A. No, I don't.

Q. Okay. what was the one that you said you
had further witnessed, it was -- we initially
today -- a document?

A. Documentation process.

Q. Documentation process. Now, how is that

different from the predeparture?

A. That's when you fill out all the papers,
and you go through all the paperwork from medical to
contracts, to allotment. These are prior to
documents going to POEA for approval.

Q. You're saying that the documents are
signed -- by processed, meaning signed before they go

for approval?

A. Exactly.

Q. Okay. And you've witnessed that one?
A. Yes, I have.

Q. But ~- and part of it was in Philippine

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dialect and part of it was in English?
A. Yes.
Q. Can you tell us any names or addresses of
people who did that?
A. I'm sorry. who --
Q. I'11 rephrase.

Can you tell us as to our ten seafarers the
names and addresses of any persons who did that

documentation process?

A. For those particular seafarers, no, I
cannot.
Q. Okay. And can you tell us for our

particular seafarers who did the predeparture
orientation process?
A. No, I can't.
Q. would we have to rely on someone from the
manning agencies to find that out?
A. Yes.
MR. HUGGETT: Okay. want to break?
MR. MASE: Good spot?
MR. HUGGETT: 2:18.
MR. MASE: Yeah. It's a good spot for you?
MR. HUGGETT: Yeah, well we covered those
things, yes.

MR. MASE: Okay.

MK _—____—___- ee —_—

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1 MR. HUGGETT: Okay. we'll] take a break. 14:19:59
2 we'll go off the record. 14:20:02
3 (Thereupon, the deposition was adjourned at

4 2:20 p.m.)

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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WITNESS

SWORN TO AND SUBSCRIBED BEFORE ME THIS
11 DAY OF __ , 2003.

Notary Public-State of Florida
14 My Commission No.
Expires:

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1 CERTIFICATE OF OATH

5S | STATE OF FLORIDA)
6 : Ss

7 | COUNTY OF DADE)

9 I, the undersigned authority, certify
10 | that KJELL HJARTNES personally appeared before me and

11 | was duly sworn.

13 WITNESS my hand and official seal this

14 | | ss day «of , 2003.

Jan E. Reyna

18 Notary Public-State of Florida
My Commission No. DD185951

19 Expires: May 29, 2007

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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1 REPORTER'S DEPOSITION CERTIFICATE
2
3
4 | STATE OF FLORIDA)
5 : SS
6 | COUNTY OF DADE)
7
8 I, JAN E. REYNA, a Registered Professional

9 | Reporter, certify that I was authorized to and did
10 | stenographically report the deposition of
11} KJELL HIJARTNES; and that the transcript is a true

12 | record of my stenographic notes.

14 I further certify that I am not a relative,
15 | employee, attorney, or counsel of any of the

16 | parties’, nor am I a relative or employee of any of
17 | the parties’ attorney or counsel connected with the
18 | action, nor am I financially interested in the

19 | action.

21 Dated this day of

22 _ , 2003.

Jan —E. Reyna
Registered Professional Reporter

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404
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September 11, 2003

KIELL HIARTNES
C/O MASE & GASSENHEIMER, P.A.
CURTIS MASE, ESQUIRE
80 Southwest 8th Street, Suite 2700
Miami, Florida 33131
Appearing on behalf of the Defendant(s).

In Re: BAUTISTA VS. NORWEGIAN CRUISE LINE, LTO.

with reference to the deposition of
KJELL HJARTNES taken on September 11, 2003 in
connection with the above-styled cause, please be
advised that the transcript of your deposition has
been completed and is awaiting signature.

Please arrange to stop by our office for
the purpose of reading and signing the transcript of
the deposition. Office hours are from 9:00 a.m.
until 4:00 p.m., Monday through Friday.

PLEASE TELEPHONE IN ADVANCE.

If this has not been taken care of,
however, within the next 30 days, or by the time of
trial, whichever comes first, we shall conclude that
the reading and subscribing of the deposition have
been waived and shall then proceed to send the
original transcript to the ordering counsel for
filing with the proper Court.

Sincerely yours,

Jan —. Reyna,

Registered Professional Reporter
Klein, Bury & Associates

One Southeast Third Avenue, Ste. 1250
Miami, Florida 33131

(305) 373-8404

€ ) Read
C ) Unsigned

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404
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ERRATA SHEET
In Re: BAUTISTA vS. NORWEGIAN CRUISE LINE

(PLEASE DO NOT WRITE ON TRANSCRIPT. ENTER
ANY CHANGES IN THE FORMAT BELOW. )

Page Line Change
1) L oe
2). [ fo. on
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5) _L Lo _
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16) 2 f
17) [ oe
1) Lf _ oe
19) LL. __ a
20) Lo

Signature of Deponent

STATE OF FLORIDA)
COUNTY OF DADE)

I DO HEREBY CERTIFY THAT:

appeared before me and stated
that she has read the above-referenced deposition and
made the changes indicated above; further, that this
Errata Sheet was signed in my presence on the
day of | , 2003.

Notary Public

State of Florida at Large
My Commission Expires:

L _ _

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. Republic of the Philippines _
“- ¢ Department of Labor and Employment
: ° PHILIPPINE OVERSEAS EMPLOYMENT ADMINISTRATION

1
°

CONTRACT OF EMPLOYMENT

KNOW ALL MEN BY THESE PRESENTS:

This Conmact. entered into voluntarily by and between:

-—

Name of Seafarer:
SIRB No.: BE LE BULGARIA ‘st BARCELONA PERG@ANSLLA HOMES IMJS CAVITE
Lcensé No.; 4959002 . 0017866-93
hereinafter referred to as the Employee. }

ms : and
Name of

Agent
For and behalf of  MAGSAYSAY MARITIME CORPORATION
1 NORWEG LAN CRUISE LINE

{Principat / Country}
for the following vessel:
Narne of Veet 5/S mom (HOTEL)
Official Number: L) Gross Re gistered Tonnage IGRT):
Flag: feat Bult. 9 Cannon cif 989- co
reenter NMBA oa ne Epler 1962
WITNESSETH

$ That the enpiote SHOR SS cinpryed wy uel under ine foxowing terms and conditions:

1.1 Duration of Coniract 1Omonhe .
1.2 Posifen COOK .
1.3 Basic Wage $ 366.40 per month |”.
1.4 ours of Work Reguer ; 8 hours per dey, Saturdays, Sundays end Holdays included.
Tc . - Overtine : 60.62 hours per mont. -
oe, 1.8 Guaranteed Overtime "$ 334.83 per mont.
1.6 Overtne Rate 3S 3.00 per tow, for work performed in addition to quaranteed OT in excess of
: 00.82 hours per mons.
, 4.7 Incerdive Pey 3 84.00’ per monty
, 18 Leave Puy $: 4277 permons
} 1.9 Union Duss _ Taba deckcted trom crew wages.
; 2.0 POINT OF HIRE MANLA

2. “the hereirs terms and conditions ia accordance wit Department Order No. 4 and Memorandum Cruise No. 9
both Series of 2000, shal be sikh and fathfuly observed.

4. Vicars ofthe tema arid condi of tue Coreract wih
. action against he'erring party. . roo

Verified and approved by the POEA:

Deponent artes EXHIBIT
Datel Rs ZIE

WA DEPOBOOK COM

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Republic of the Philippines
DEPARTMENT OF LABOR AND EMPLOYMENT
f, Intramuros, Manila

A775

DEPARTMENT ORDER NO. ff .
Series of 2000

In view of recent developments in the international maritime industry
affecting the recruitment and employment of Filipino seafarers on ocean-going
vessels andl cognizant of the Department's objective of ensuring the continued
employment of our scafarers and maintaining the Philippine global comparative
advantage in shipmanning, the Standard Terms and Conditions Governing the

Employment af Filining Gaafarers On Roar Ocean-Going Vecente ic hereby
— amended reflecting the consensus of all the stakcholders as determined through
the several tripartite consultations conducted by the Philippine Overseas

Employment Administration.

The Philippine Overseas Employment Administration (POEA) shall
| formulate the guidclines for the implementation of the amended contract, a copy —
of which is hereto attached. .

The amended rules shall take cffect fifteen (15) days from date of
. publication in a newspaper of general circulation.

All Orders and issuances inconsistent herewith are hereby repealed and

superseded accordingly.
srmwenwte GUESMA

Secretary

4

For strict compliance.

4

Manila, 31 May 2000

; DIESEMINATED BY AS-RECORDE SECTION ON Ar— 9000

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Aa
MEMORANDUM CIRCULAR NO _ 9. eee
Series of 2000 wo
Sad
TO . ALL PRINCIPALS‘EMPLOYERS, LICENSED MANNING
AGENCIES AND FILIPINO SEAFARERS -
SUBJECT AMENDED STANDARO [fFRMS ANG CONUITIONS

GOVERNING THE EMPLOYMENT OF — FILIPING
SEAFARERS ON BOARD OCEAN-GOING VESSELS _

Pursuant to Department Order No. 4, Series of 200C the following
guidelines on the implernentation of the Amended. Standard Terms and
Conditions Governing the Employment of Filipino Seafarers on Boaid Ocean-
Going Vessels are hereby issued

1, The terms and conditions provided therein are the muumun requirements '
acceptable to the POEA for the empicyment of Filipino seafarers on board
ocean-going vessels. The parties tc the contract may thercfore imprave on
the minimum terms ‘and conditions provided such improvernenits shall be
made in writing and appended to the contract of employrnent Such
improvements in the contract shall have prospective application

2. | Effective 25 June 2000, manning agencies shall use and subi to ine
POEA the full text of the seafarers employment contract herein attached
including improvements, if any, for approval and pracessing

3. Manning agencies are directed to inform and provide copies of ihe —
amended standard terms and conditions to all its accredited principals

4. Every departing seafarer is required to snow a copy of the processed and
approved employment contract, inciuding its improvements, if any at (he
POEA's Labor Assistance Center (1AC) at the international airports

5. Manning agencies are directed to include the discussion of the amen at
Standard terms and conditions governing ihe empioyment of Frapine
seafarers on board ocean-going vessels in the Pre-Ocpariur2 Orientaior
Seminar/Briefing of all its hired seafarers

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ke ae ™

"27/06/00 10:24 FAX 727 7760 POEA-ROCO @o3

All Circulars and issuances inconsistent herewith are hereby repealed and
superseded accordingly.

For strict compliance.

REY, EGALANO

inistrator

14 June 2000

‘ “oo:
‘ ' Noe’
- ' ANNEX A
STANDARD TERMS AND CONDTMONS
GOVERNING THE EMPLOYMENT OF FILIPINO SEAFARERS

ON-BOARD OCEAN-GOING VESSELS”

Definition of Terms:

For purposes of this contract, the folowing terms are defined as follows:

4, Point of Hite - refers te the piace indicated in the contract of employmant which shall be
the basis for determining commencament and termination of contract.

2 Convenient Port - any port where it is or eal, safe and tent to

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SECTION 7. PAYMENT ON BOARD

Payment of shipboard pay in foreign ports shal be subject. to the axteney corte reulatons
the port abroad and 10 fie ich rate of exchange prevatiny at he td of payment Advenon
shall be at the master'v/employer’s dacreton and in scoordance with thé foregoing condom.

SECTION &. ALLOTMENTS AND REMITTANCES

A The sesfarer is required to make an allotment which shal be payable once a month to his
designated alottes ln the Philippines through any authorized Phillppine bank. The master!

repabiate the seatarer. -

4, Phiflppine Port - refers to any Phillppine altport or seaport.

4. Basic Wage-- refers to the salary of the sealarer exctusive of overtime, leave pay and
other bonuses.

§, Departure - refers lo he actual departure from tha point of hire of the seafarer through
a, 300 of land Wavel ranaport lo Join his veesel.io a Philppine or foreign port.

6, Regular Working Hours - refers to the seafarer’s sight (8) hour working hours within the
pertod of 24 hours.

7 Dental Treatment - covers tooth extraction or dental surgery, if necessary, due to
eccident.

6. Shipwreck - refers to he camage or destruction of a.vessel al sea caused by collision,
storm, grounding or any other marine peril st sea or in port rendering the vessel
abectvtely unnavigable of unadieto pursue her royare.

9, Compassionate Ground - refers to Incidence of death of an immediate member of the
seafarers family which indudes his parents, spouse and children if the sestarer |s

manted ot his parents i the seafarer is single.
10. Principal - any person, or carp hiking Filipino to work on
board ocean-giving vessels.

11. Work-Related lnuty - ndury(les) resulting in disability of death arising out of and ln the
course of employment,

12 Work-Related IIness - any sickness resulting to Bsabiity or death as a resuit of an
occupational dsesse feted under Saction 32-A of this Contract with the concitions set
fherem satisfied.

SECTION 4, DUTIES
A. Duties of the Employer/Agency/Master.

1. To fathAsly comply with the stipulated terms and conditions of this contract,
particuarty the promnpl payment ct wages, remittance of stotment and the axped-
tous setiement of vald.caims of the seatarer.

To make operational on board the vessel tha grievance machinery provided in this
contract and ensure its hee access af ail times by lie seafarer.

1. To provide a sesworthy veasel for the seafarer and take aff reasonable precautions
te prevent accident end injury to the crew including provision of safety equipment,
fre srevention, tafe and proper navigation of the vessel and such other
precautions necessary io avtid scadent, injury or sickness fo the seafarer.

4. To cbearve the Code of Ethics lor Seafarers and conduct himself in the radlonal
decorum of a Master.

8. Outles of the Seafarer,

1, to falthiully comply with and observe the terms and conditions of thle contract,
votation of which shall be subject to disciplinary action purruant to Section 33 of
this contract,

2 to abide by the Code of Discipline as provided in the POEA rules and requiations
Qoverting overseas contract workers and the Code of Ethics ler Seafarers;

1 to be obedient fo the lnwtul commands of the Mester or any person who shall
Wewtuly succeed him and to comply with company policy Inching safety policy

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and procedures and ay given i
4. 19 be diligent in hie cubes relating 0 the vessel, 3 stores and cargo, whether on
board, 1 boats or ashore; and .

S$ te conduct himself in an orderly and respecthul manner towards passengers and
shippers stevedores, port authorities and other persona on official business with
the ship.

SECTION 2. COMMENCEMENT /OURATION

OF CONTRACT

A. The employment contrac between the employer and Ihe seaterer shall commence
upon actual departure of the seatarer from the airport or seaport in the point of hire and
wi a POEA approved contract. R shall be effective und the seatarer’s date of arrival at
the point of hire upon termination of hie employment pursuant lo Section 18 of this
Conta,

8 The period of employment shall be for a period mutusly agreed upon by the seatarer
and the employer bid Not to exceed 12 months. Any extension of the contract shail be
sudlect to the mutual consent of both partes.

SECTION 3. FREE PASSAGE FROM THE POINT OF HIRE TO THE PORT

OF EMBARMATION tie dae and tine spect by
The sestarer shell joln the vessel of be available for duty. & e
nie ne Catarar shad roel by oof 1 cheredse Grecied x Be expan ofthe
employe.

SECTION 4. BAGGAGE ALLOWANCE .

The seotarer traveling by oir 10 join @ verse! or an repatriation shall be anttied to ihe normal
ree baggage alowence offered by the sirines, The cost of fe excess baggage shall be for
the account of ihe seafurer.

SECTION 5. HYGIENE AND vac a

A. The seatwer shall keep Ne quarters and other spaced - such a3 Messrooms,
todeta, bathrooms, sleyways and recreation rooms in Gean end bdy condilos to the
satstaction of the master, The work is lo be performed outside the seafarer’s requiar
working heurs and lor which no overtime pay shail be csimed.

a The seaterer shad submit lo the order of the master oF 12 the laws of sny country within
the tarttortal jurtacdction of which the vessel may enter 9 have such vaccination or

Lesion a to sslequarding his heath and of tre whole crew.

SECTION WAGES

The seaterer shad be paid hia moninty weges not Isier then 15 days of the succeeding
month fem fhe deve of commencement of gre contract undl the dale of arttval at point of hire
upon lamination of his emeloyment pursuant to Section 18 of this Contract,

ployer/egency shall provide the seafarer with faciitties to do so al no expense to the
seatarer, The allotment shail be m least eighty percent (80%) of he seafarers monthly basic
salary Induding backwages, if any.

B. The master/employeriagancy may also provide facilites for the seafarer !o remit any amount
eared In excess of his allotment lo his designated allottes In the Philppines through any
authorized Philippine bank without any charge to him,

C. The allotments shall be paid ta Me designated afotiee in Philippine currency at the rate of
exchange indicated in the credit advice of the iocal authorized Phillppine bank.

SECTION 9, ACCOUNT OF WAGES & CERTIFICATE

OF EMPLOYMENT

The seafarer, upon his discharge, shall be given a written account of Ns wages reftectng al
deductions therefrom. Where « seatarer It landed In an emergency, the written account of his
wages shail de given to him as scon ag practicable thereafter, Upon the sesfarer’s request, he
shal also be provided by his employariagency his cartficate of employment or service record
without any charge.

SECTION 10. HOURS OF WORK

A. Tha soafarer shall perform not more than forty-elght(48) hours of requisy work a week. The
hours of work shall De determined and prescribed by the master, provided that | conforms
wih customary intamalonal practioes and standards and as prescribed In paragraph 8
below. :

8. Regular working hours for the seafarer shall be eight (8) hours In every 24 hours, midnigh! to
midnight, Monday to Sunday, The normal practice ia as fodows:

{. the day worker shafl observe the eight (8) regular working hours during tf period from
0600 hours to 1800 hours. ol

2. the steward personnel shal observe the eight (6) regular wartdng hows during the pertod
from 0500 hours to 2000 hours.

4. the Rado Operater shall observe the eight (8) reguiar working hours in every Iwenty-four
(24) hours, midnight ta midnight, from Monday to Sunday as established by Intemational
Talecommunication Conventions and as prescribed by the master,

4. for those who are on sem watch, their working hours shall be aight (8) hours per day.
Staggering of working hours wil be af the master’s discretion.

C. The seatarer shall be allowed reasonable fest period in accordance wih international
standards.

SECTION 44, OVERTIME & HOLIDAYS

A. The seafarer shall be compensated for all work performed in excess of the regular eight (8)
hours a8 prescribed above. Overtime pay may be dassified a8 open, fred or guaranteed.

In computing overtime, a fraction of the first hour worked shal be considered as one ful hour.

Aller the first hour overtine, sry work performed which Is less than Uhirty (30) minutes shall be

considered as haif an hour and more than thirty (30) minules shad be considered one full hour.

8. Overtime work may be compensated at the following rales:

1, Open overtime « not leas than 125 percent (125%) of the basic hourty ‘ale computed
based on two hundred eight (208) requiar working hours per month.

2. Guaranteed o fixed overtime - not less than thity percent (30%) of the basic monthly
salary of the seatarer. This fixed rate overtime shall induce overtime work performad on
Sundays and holdays bul shall nol exceed one hundred five (105) hours a month.

3. Overtime work for officers shall be computed besed on the Axed overtime rile,

4. For ratings, overtime work shall be based on guaranteed or open overtine rela, as
mutually agreed upon by fhe contracting parties. Overtime work in excess of 106 hours a
month for radngs shaf be kurther compensated on the open overtime rate,

C. Any hours of work ar duty Induding hours of ping performed by the seafarer an
designated rest dsys and holidays shal be peld reat day or holday pay. The folowing shed
be considered as holdsys af sea and in port.

New Year's Day Jeway 1
Maundy Thursday movable date
Good Friday + movable date
Arew ng Kagkingan (Bataan & Corregider Cay) + Apt®
Labor Oey : We
Independence . :

Navonal Heroes Oay Last Sunday of August
Al Sante Oey November 4
Bonifacio Oay November 30
Chvisenas Oey Oecemter 25
Riza Oey December 30

0. — Emergericy Duty - No overtime work shall be considered for sy work performed in case of
emergency affecting tre safety of the vessel, passenger’, Crew of cargo, Of which ne masior
that be he sole jude, or for fire, boat, or emergency drill or work required io give
ssalgtince to other vessels cr parsons in immediate peri,

SECTION 12. LEAVE PAY

The conterer's leave pty shall be in accordance with the number of days leave per month as
agteed upon. Days leave shall fol be less than two and a hall (2-1/2) days for each monty of
service and pro-rated. Leave pay shell be sailed onboard or setted within tec weeks after arival
of the seafarer al the point of hire.

SECTION 13. SHORE LEAVE

The seslarer shad be alowed share leave when practicable, upon the consent of ihe masie or his
Geputy, taking into conakderation the opwrations and salety of the yeasel,

SECTION 14, VICTUALLING, VESSEL STORES
ANO PROVISIONS
A The seatarer shall be provided by he ployer with with good

martime standards and practices wile on bosrd te
‘Case 1:03-cv-21642-PAS Document 76 Ent

. . *

Se ' \..
8. “Al stores and provisions Iseued to the seatarer are only fr use and consumption on board

SECTION 15.

The
man

the veesal and any unused or unconsumed stores or provisions shall remain the property of
the employpr. The sestarer shell not take sshere, sel destroy or give eway such stores and

por,
TRANSFER CLAUSE

seatarer agrees 10 be transferred at any port to any veasel owned or opereled, manned or
aged by the same employer, provided Xt Is accredited to the same manning agen and provided

°

further that the position of the seafarer and the rate of his wages and terms of service are in no way
inferior and the total period of employment shall not exceed that originally sqreed-upon.

Any

SECTION 16.

A

SECTION 17.

The
A

SECTION 18,

A

SECTION 18,

A

form of transfer shall be documented and made available when necessary.

GRIEVANCE MACHINERY

if the seafarer considers himself aggrieved, he shall make his complaint In sccordance with

the following procedures:

1. The seatarer shal frst approach the head of the Department in which he Is assigned to
explain his grievance,

a. Inthe Deck, Radio and Catering Cepartment, the head Is the Chietmate,

dD. nthe Engine Department, the nead is the Chief Engineer.

c In the Catering and/or Hotet Department in a passenger ship, the head is the
Chlef Steward and/or Purser.

2. The seafarer chall maka hls grievance in writing and in an orderty manner and shall
choose a ime when his complaint or grievance can be property heard.

3, The Department head shail deal with the complaint or grievance and.whare solution is not
possible ai his level, refer the complaint or grievance to the Master who shall handle the
case personally,

4. If no satisfactory resuil Is achieved, the seafarer concerned may appeal to the manage
mant of the company or with the Philippine Overseas Labor Office or consular officer
overseas. The master shell afford such facilities necessary to enable the seslarer to
transmit his appeal,

. Mf after observing the grievance procedure the master finds that the seatarer violaied the
terms of hig Contract or has committed breach of dacipiing, the master shall discipline the
seaterer or, if . his employ

6. The seafarey may atso seek the assistance of the highest ranking Filipino seatarer on
door.

ow

When availed of by the seafarer, the grievance procedure and all actions or deasions agreed

upon shail be property documented fot the protection and Interest of both parties.

The foregoing procedure shail be without prejudice to other modes of voluntary seltiement of

disputes and to the junadiction of the Philippine Overseas Employment Administration (POEA)

or te Natona Labor Relations Commission (NLRC) over any unrescived
arising oul of ship! y that shal be brought before # by the seafarer.

DISCIPLINARY PROCEOURES

Master shal comply with the following disciplinary procedures against an erring seafarer:

‘The Masior shal fumish the seafarer with a written notice containing the fotowing:

1, Grounds lor the charges as listed in Section XJ of his Contract or analogous act
constituting the same.

2 Date, time and place for a formal investigation of the charges against the sealarer

concemed.
The Master or his authorized representative shall condict the investigation or hearing, giving
the seafarer Une opportuntty 10 expiein or defend himsel! against the charges. These
procedures musi be duly Gocumented and entered into te ship's logbook.
M after the investigadon or hearing, the Master ls cominced that imposition of a penalty is
putiified, the Master shad issue a written notice of penaity and the reasons for 4 to the see
farer, wih copres furnished fo the Philippine agent.
Crsmrissal for just cause may be effected by the Master without furnishing the seafarer wih 8
notce of damiasal W there is a deer and existing danger to ths safety of the crew or the ves-
vel. The Muster shall send 8 complete rapori to the manning agency substantisted by wt
fesset, testimonies and any olter documents If support therec!.

TERMINATION OF EMPLOYMENT .

Tha empicyment of the seafarer shall cease when he seslarer completes his period of

contractual service aboard the vessel, signa-off rom the vessel and arttves al the polnl of

Nie.

The employment of the seatarer is also terminated when the sealarer artves at the point of

hire for any of the following reasons:

1. when the sesfarer signs-off and Is dsembaerked fer medical reasons pursuant to Section
20 (B)[5) of thls Contract.

2 when the seotarer signs-off due to shipwreck, ship's sale, sy-up of vessel, daconiinuance
of voyege or change of vessel principal in accordance with Sections 22, 73 and 268 of
the Conirect.

1. when the seafarer, in witing, voluntary resigns and signs off prior to expiration of
contract pursuant to Section 19 (G) of this Contract,

4. when the seafarers discharged for just cause ue provided for in Section 33 of this
Contract.

REPATRIATION

W the vessel ie outside the Philopines upon the expiraton of the contract, the sesfarer shail
continue bis service on board uni the veesel's arttval st @ convenient port and/or after arrival
of he replacement crew provided thal, in any case, the continuance of such service shall not
exceed free months. The seeteer shal be entted to. eamed wages and denefits as
provided in hie contract .

A the vessel erives af @ convenient port before the expiration of the contract, the master
employer may repeviate the saatarer tom such port, provided the unserved portion of his
contract a net more than one (1) month. The seatarer shal be entitied only to his esmed
weges and earned leave pey and ip his basic wages corresponding fo the unserved portion of
the contract, uniese within 60 days irom disemnberketon, the seatarer is rehired st the same
rate and position, in which case tha seatarer shall be ented only lo his earned wages and
earned leave pay. ©

H the vessel arrives at @ convenient port within» period of three (3) months before the expira-
ton of his conrad, the master mey repairieie the sealarer trom such port provided
that he coatarer shall be paid af hie samed wages. in addition, the seafarers shall also be paid
Ns leave pay for he entire contrac pariod pius 2 termination pay equivalent to one (1) month
of Me basic pay, provided, howsver, thet this mode of lermination may only be exercised by
the masterfemgleyer If the original contract period of the seatarer ts af least ben (10) months;
provided, further, [hal the conditions for thie mode of larmination chal not apply io dlamnlasal
ler caves. .

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SECTION 20.

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The seafarer shal, if discharged at a port abroad for ahy reasodl other than for discipline, be
eccommodaied ashore and in cases where i Is not Intended tial he rejola the vessel, shall be
Feparlated to the Pitpoines via sea or air or as may otherwtte be directed: by the employer!
masteriagency. .

When the sesfarer ls discharged for any just cause, the employer shail have the right fo
recover the costs of his replacement end repatriation trom. the seafire’s wages and oer

earnings.
The veafarer, when discharged and repatriated as directed by the employer/master/agency
shall be enlited fo basic wages trom date of signing off unt artval at the paint of hire except
when the discharge le.in eccordavice with the above or for disciptthary reasons,
K the seatarer deliys or desires a detour and/or another destination other than the mesLdirect
to the point of hire, a additional expenses shall be to the seafarers account, The sesfarers
basic wage shal be calculated based on the date of arrival by the most drect route.
A weafarer who requests for earty termination of hls contract bhail be llatie for his repatriation
cost as wed as the tra bon cost of his r The employer may, In case of
compassionste grounds, assume the transportation cost of fe sealarer’s replacement,

COMPENSATION ANDO BENEFITS

COMPENSATION AND BENEFITS FOR DEATH
1. In case of work-related death of the seatarer, dung the tenn of his contract the
ployer shall pay his benef the Philppine Currency equivalent to the amount of

Fifty thousand US doflars (US$50,000) and an additional amount of Seven Thousand US

dollar (USS7,000) to each chid under the age of twenty-one (21) but not exceeding four

(4} children at the exchange rate prevaliing during tha tme of payment.

Where death is caused by wartke activity while sailing within 2 dectared war zone or war

fisk area, the compensation payable shall be doubied. The employer shall undenake

appropriate wer zone ge for this purpose.

. Nis understood and agreed thal the benefls mentioned above shaf be separate and
dstnct from, ang will be in addition lo whatever benefils which seafarer is ented to
under Philippine tows fom Socal Securty System, Overseas Workers Welfare

ploy Philippine Heath Insurance
Corporation and Pag-ibig, if applicable, .

4, The other llabiliies of the employer when the seafarer des as a results of work-related
lnlury or finess during the term of smployment are es follows:

a. The employer shad pay the deceased’s benefidary al outstanding dig ations
Que the seafarer under this Contract. .

b. The employer shall transport the remains and personal effects of the seafarer to
the Philippines at employer's expanse excepl if the death ocurred in a port
where local government iswa or regulations do not perma the irensport of such
remains. In case death occurs al sea, the disposition of ihe remains shall be
handled or deak with In accordance with ihe masle’s best Judgment. In ad cases,
the employerimaster shaft communicate with tha manning agency to advise for
disposition of seafarer’s remains.

& The employer shall pay the beneficiaries of the sealaver the Philippine
Currency equivelent to the amount of One Thousand US dollars (US$1,000) for
burlal expenses at the exchance rate prevailing during the tme of payment,

COMPENSATION ANO BENEFITS FOR INJURY OR ILLNESS

The llabittes of the ernployer when the seatarer suffers work-related Injury or ilness during

the (erm of his contract are as follows: .

1. The employer shall continue to pay [he seafarer his wages during the time he is on board
te vessel:

2 if the Injury or Mines requires medical and/or dental vestment in a foreign port the
employer shall be fable kr the ful cost of such medical, serious dental, surgical’ and
hospltaLireatment as well a3 board and lodging untl the seafarer is dectared fil to work or
to be repairtated,

However, H after repatriation, the seafsrer stil requires medical attention arising from said
Injury or liness, he shail be 80 provided at cost to the employer until such time he Is
Gecared M or the cegree of his ctsabilty has deen established by Ue company-
designated physidan.

3. Upon sign-off from the vessel for medical Veatment, the seatarer is entided lo sickness
alowance equivalent to his basic wage unt he is declared fit lo work or the degree of
permacient disability has been by the company-desig hytidan bul in no
case shall hls period exceed on hundred twenty (120) days.

For this purpose, the seatarer shall submit himsel! to & post-employment medical
Inston by 8 compen gf phytician within three working days upon his retum
except when he le physicaly incapacitated to do so, In which case, » wntten noice
to the agency within the same period a deemed as compliance. Failure of the seafarer to
comply with Use mandatory reporting requirement shall result in his forfeiture of the right lo
alm the above benefits
Hf a doctor appointed by De seaferer disagrees with the assessment, 8 third doctor may”
be agreed jointly between the Employer and the seafarer The third doctor's decision shail
be Anal and binding on bot) parties,

4, Those Binesses not listed In Section 32 of this Contract are disputably presumed as work
related. .

5. Upon signoff of the seatarer fram the vessel for medical reatnent, tre employer shall
bear Ove ful cost of repeiziation in the event the sesfarer la declared (1) it for repatriation:
or (2) ff to work but the employer is unable to find employment for te seafarer on board
his former vessel or another veasel of the employer despite earnest efforts.

6. In case of permanent tote! or partial disability of the seafarer caused by either injury or
Hines the seaterer shall de din wih he of benefits
enumerated in Section 32 of this Contract. Computation of his benefits arising from an
Minets oy dasese shal be governed by the rates end the mules of compensation
eppicable ot the me the ness or desase wes contracted,

| tg understood thal computation ul the total permanent or partial dssbility of the seafarer

caused by the Injury sustained resuitng from wartke activites within the warzone area shad

be based on the compensation rate payable within the warzone ares as prescribed in this

Contract,

No compensation and benefits shall be payable in respect of any Injury, Incapactty, disability or

death of the seafarer resulting from his wilful or criminal act or intentional breach of hie

dutles, provided however, thal Ihe employer can prove that such injury, Incapacity, dlzabilty or

Geath is dractly ettrbutatie to the sestarer.

A seafarer who knowingly conceals and does nol diciose past medical condition, disability

and Natory in the pre-empioy medical fr misepresents-

Hon and shed dlequaify him from any compensetion end benefits. This may alto be 8 veld

ground for termination of employment and imposition of the appropriate sdminisirstive and

(egal eancione

en requesied, he principal shal furnish the seafaser 8 copy of all pertinent medical reports
oF any records af no cost fo the seafarer.

The sestarer of Na successor in inlerest acknowedges thet payment for injury, linens,
Incapacity, Gaabiity or death of he seafarer under tie contract shall cover af daime arising
from or in relation with of in the course of te seafarers employment, Including but nol limited
to damages arising from the contract, fort, fault or negiigence under the laws of the Philppines
OF any other country

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WAR AND WARLIKE OPERATIONS ~~”

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LAY

SESTIONZ. SECTION 22. SCHEDULE OF OISABILITY OR IMPEDIMENT FOR INJURIES. °

ALLOWANCE
A If awar or wartke operations should arise during the tarm of this Contract In any county within
the vessel's yading area, the seafarer may sail the vessel within and out of the Lacing ares if
required by the Master, .
B. Hat the me of the signing of the contract, an area ls declared a war or war-fisk trading ares

SUFFERED AND DISEASES INCLUDING OCCUPATIONAL
OISEASES OR ILLNESS CONTRACTED. ' :
’

HEAD

Traumatic head Injuries that result to:

and the seafarer binds himself in writting Ip sal into hat area, the agreement shail be properly =. Apperture unfilled with bone not over three (3) Inches without breil injury....... Gr. 9
appended fo the Contract for verticaton and approval by the Phitppine Overseas = 2 Apperture unfilled with bone aver three (3) Inches without brain Infury ne GED
Employment Administration (POEA). The seafarer shal comply with the agreement or shall 3. Severs paralysis of both upper or lower extremities or one upper and one
dear his cost of repatriation when he opts not to saf into a war or war-ritk trading eres. ower extremtitty, Get
C. The seafarer when sailing within 9 war-isk trading area shall be enilted to such premium pey 4. Moderate paralysis of two (2) extremities producing moderate
as the POEA may through appropri ‘ Gifflaytty in movements with seit-care activities, seen O66
D. Tha POEA shall be the sole authority to determine whether the vessel ig within a war risk =—-§. Sight paralysis affecting one Y pe Q SUNT difficulty wih self-care
trading area. { shall also determine the amount of premium pay to which the sealarer shail be actvites Gr. 10
entitled to when sailing in that wer-risk trading ares. 6. Severe mental dsorder or Severs Compiax Cerebral function disturbance or
post-traumatic psychoneurosis which require regular aid and attendance as fo
SEN a 6 NATION ane SHPWREC af employ before the dale, on rier Pemaeanty unable {0 perform any Work... eats sessansesaneotscerseee Gel
indicated in the contract, the seatarer shail be entived to eamed wages, medical examination at web he aches of daly ng wean Gieted coy a a us
mere aie his fitness lo-work, repatriation al employer's cost and one month 8 Sight mental disorder or dls thal requires ite atfendance or ald and
which interferes to 2 sight degree with the working capadly of he daimant..... Gr. 10
SECTION 23, TERMINATION QUE TO VESSEL SALE, 9. incurable imbeciity wa dieses cousvensaessesvonesons Gul
LAY-UP OR DISCONTINUANCE OF VOYAGE FACE
Where the vessel is sold, laid up, or the voyage is discontinued nacessitating the lerminaton of = 1 Savave disfigurement of the face or head as to make the worker so.
employment before the dale indicated in the Contract, the seaferer shall be antited lo seamed repulsive as to greaty Nendicag him In eecuring or retaining
wages, repatriation a employer's cont end one (1) mont basic wage ax termination pay, unless employment, thereby being no permanent functional disorder... 602
arrangements have bean made lor‘the seafarers to jon another vessel belonging lo the same 2 Moderate facial datigurement involving partial ablation of the
principal lo complete his convact In which case the seafarer shall be enlited to basic wages untl With big S0BrS. On f8CR OF NORE. eesssscssssseccessesseccsseeens a C8
the date of janing the other vessel, 3. Partial ablation of the nose or partial avulsion of the scaip. . 9
SECTION 24 TERMINATION OUE TO 4. Completa foss of the power of mastication and speech function. woe GL
UNSEAWORTHINESS §. Moderate constriction of the jaw resulting if moderate degree of ffiauity in
A it the vessel Is dectared unsesworthy by a classification society, port state or flag state, the Chewing and moderate loss of the power or ths expression of speech... Gf6
senlerer thal not be forced to sall with the vessel, 6. Sigh disorder of mastication and speech functiin due to traumatic
BH the vessels unseaworthiness necessitates the terminalion of amployment before the date injures to jaw or cheek bone venseecene G12
indicated In the Contract, the seatarar shall be entltied to earned wages, repatrlalion st cost to eves L
the employer ad termination pay equivalent o one (1) month basic wage, 1. Biindnesg or total and permanent loss of vision of Both @Y€8..0..... cece, Oh
SECTION2S —_TERMINATION DUE TO REGULATION 1/4, CONTROL PROCE: 2 Total bncness of one (1) aye and ity percant (50%) loss of vsion
OURES OF THE 1978 STCW CONVENTION, AS AMENDED ofthe other eye “ Gr.
if the seaturer ia terminated and repatated a8 a result of pert state control procedures/ections In 2+ Loes of one eye cr lolad binchass of one eye. Gr?
comptance wih Reguiaten 14 of the 1978 STCW C & is termination shat {+ FURY percent (50%)} les of sion of one aye &. 10
De considered vaid, However, he shall be entiied fo repatiation, esmed wages and other benefits. : a noes " ¢ %
SECTION 26. CHANGE OF PRINCIPAL ‘ 7, Ephiphora0@ @76.......0.ccssesne en Gr. 12
A Where there is a change of principal of the vessel jtating the ton of employ 6. Prosis, one eye. ase 6612
of the seetarer before the date Indicated in the Contact, the seafarer shall be enitied to © NOTE: (Smelle’s Chart - used lo grade for near and distant vision),
eames wages, repatriation el employer's expense and one month basic pay as lerminaton NOSE AND MOUTH
pay. 1. Considerable stricture of the nose (both sides} hindering
G. If by mutual agreement, the seafarers continues his service on board the same vessel, such breathing veseuensvetees on
service shall be rested as @ new correct The Seafarer shal be enulied 10 eamed wages = 2, Loas of the sense of hebring In one ear. Gat
only. 3. In to the tongue jal amputation or adhesion) or palate.
C. Incase srangemenis has been made for the seafarar (0 join another vessel to complete his care dof ewecn praten ) me . 610
contract, the seatarer shal be enliied lo basic wage unt the date of joining the other vessel. 4. Loss of (ree (3) teeth restored by prosthesis................ we LNG
SECTION 27, LOSS OF OR DAMAGE TO CREWS EARS
EFFECTS BY MARINE PERIL 1. For the complete loss of the sense of hearing on both ears Gr.3
A. The seatarer shal be reimbursed by thé employer the full amount of loss ov damage lo his = 2 Gr.8
personal effects bul in no case shal the amount excead the Philopine currency equivaieni to 3. Gr. 11
the amount of Two Thousand US dollars (US$2,000) his personal effects are lost or 4. Lota Of one external O8F.....5ssssssere Gr. 12
damaged as a raul of the wreck oF ices of stranding or abandonment of the vessel or asa 5. Loss of one half (1/2) of an external ear GM
regu of fre, hooding, collision or piracy. NECK
B. In case of partial loss, the amount shail be determined by mutual agreevent of both parties = 1. Such Inkury to the throat as necessitates the wearing of a tracheal
dul In Ao case 16 exceed the Philippine currency equivalent to the amount of Two Thousand WOO. ccccscecsecesseccesscstcsenen sepsesetsese sane . 608
US dokars (US32,000}. 2 Leas of speech due to injury to the vocal cond... . OF
C’ Remnbursement for loss or damage to the seafarers personal effects thal not sppty H such =. Total stifineas of neck due to Iracture or dislocation of the
loss or damage is due to {8) the seafarers own faut; (b) larcerry or theft or (c} robbery. CONOR PING8 essere sentence Oh §
0. Payment of any reimbursement shad be computed at the rate of exchange prevailing al he = 4. Moderate silfness or hwo thirds (2/3) loss of motion
time of payment. of the neck... cee teeesanes Gr. 10.
SECTION 28. GENERAL SAFETY 5. SBght atifnass of neck or one third (1/3) 088 Of MOUON.......5ss009 ~ GAZ
A. The seaterer shell observe nd wy requiion g reecin thal the master may impose CHEST-TRUNK-SPINE
conceming safety, drug and alcohol and environmen .
= amu ra use dl ah aporoptale saivy seugment proved him and must” Frau cto (1) more retig to sever tan of chest as
ensure that he is suitably dressed from the safety point of view for the job al hand. 2 wih iitercosial neuraigia resulting in moderate .
SECTION 2%, DISPUTE SETTLEMENT PROCEDURES Imitation of Chest OXD ENS... csc eeeteceessnsesseeenessstatsseeesceneees O69
tn cases of aims and daputes arising from this employment, the parties covered by a colective 3. Slight imitation of chest expansion due to simple rib functional without myositis
bargaining agreement shad submit the claim or dispute lo the original and juriadiction of « 1 ni sesenbeasenereeseanee Ge, 12
the voluntary arbirator or panel of arbitrators. Hf the pares ere not covered by a cofectve = 4, Fracture of the dorsal or kumber spines resulting lo severe or lotal rigicity of the.
bargaining agreement, the parties may at their option submit the caim or dispute to etther the trunk oF total loes of Kiting power of heavy COC. eee GB
original and exciusive jurisdiction of the National Labor Relations Commission (NLRC), pursuant lo == 5, Moderate rigidity or two-thirds (2/3) loss of motion or iifting power of the runk.. Gr. 8
Republe Act (PA) 8042 otherwise known as Ihe Migrant Workers and Oversees Filpincs Aci of 8, Sight rigidity or one third (1/3) loas of motion or lifting power of the punk........ Ge. 14
1998 oF to the original and exciusive jurtadiction of the voluntary arbitrator or pandl of arbitrators. if 7. Injury fo the spinal cord a8 to make walking impossible without the ald of a pair
there 16 no provislon as 0 the volumtary arbitrators to be sppointed by the parties, the seme shal OF CANOE cc cceee sneer eee G4
be appointed from the sccrediied voluntary arbitrators of the Natonal Concilation and. Mediation 8. Injury to the spinal cord as to make walking Impossible even with tie aid of a
Board of the Oepar of Laver and . POW OF CULCNOS settee tetttectesessa serene sesaaonee tre Gi
The Philippine Overseas Employment Administration (POEA) shail exercise original end exclusive §=— 9. Injury lo the spinal cord feeuling te incontinence of uring 8nd (9088... GES
jurisdiction te hear and decide dacipfinary action on cases, which are administrative in character,
involng of arising out of voladons of recrutmant laws, rules and requiatlons invotng emplayart, ABOOMEN
JECTION 26. PRESCRIPTION OF ACTION oes of one kidney... .
i iaims acelng fom ina Contract shel be mace winin tse (3) yours trom the cute the causaot > sere mauduas of ingen ot a inteebcoming ouane len cures toque on
action arises, otherwise the same shad be barred. 4. Moderate reaidais of dacrder of the intra-abdominal onus secondary 1a trauma
SECTION 31. APPLICABLE LAW resutting to h { of nutrition, ti Aausea, vomiting,
Any unresotved dispute, cam ar grlavance arising out of or in connection wilh this Contract, COMSLIPREON OF MOTH OM....ssessesscsccssesncneemmensntenttcenteentrmeteececscecsnsatsees Gb T
Inctuding the annexes thereot, snail be governed by the lewe of the Republe of the Phitppines, —§. Slight residuals or diaorder of the intra-abdominal orgarie resulting in Impairment
Sh nitions, eaties and where the Philippines ls a signatory. Of nulfition, slight lendamess and/or constipation or darrha . 6412
6. Inguinal hemia secondary to lraume or sifain.... . Gr 12

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. PELVIS
1. faa cen wl ro

» Gel

2 Frcs ol png yd &
OB
4, Total oss of peri, URINARY ANO GENERATIVE ORGANS tn?
z Total fons of both testicies G7
3 Total loss of one testic. Gt

4, Scars on te penis or destruction of Bre parts of the cavernous body
Oe ean etn oF markerdy acing coitus. Od
5, Lora ofone breast... Get
6. Prolapse of the uterus Gr.6
7. Great dfficuty.in urinating. Gr, 13
8. Incontinence of urine....... = G10
THUMBS AND FINGERS

3. Tota) Joes of one thumb including metacarpal bone.. » Gd
2 Totat leas of one thumb. Ge 10
3. Total hoes on one index finger ¢ metacarpal bone. Ge. 10
4. Total fons of one index finger, a.
5. Total loss of one middie finger induding metacarpal bone. 0 Gull
§. Total oes of one middle finger, Gr. 12
7, Tolal loas of one ring Sager Inctuding metacarpal bon G12
& Total loas of one fing lager... » GAT

3 Total loss of one small ager inciucdng metacarpal bone, .

10. Total loss of one email finger... Gr.

11, Lous of hwo (2) or more Angers, Compensation for tht lots or ots of use of bwo'(Z) or more
Angers or one (1) or more phalanges of two o¢ more digits of a hand rust be proportioned to
the loss of the trand occasioned thereby but shad not exceed the compensation for the loss

of ahand:

a Loss of five (5) fingers of one hand...
b. Loss of thumb, index fingers and an’

of the same hand...
& = Loss of he thumb, index fing any

fingers of the same hand... teens
4 = Loes of Shurnd and index fnger.. cesceaesneaseee +
1. Lous of three (3) fingers of one hand Aot incudng thumb

and index finger... secre OOD
f Loas of the ingex finger and any one of the other fingars

of the fame hand q thumb... G9
Lan of to 2 gs of ane hand lng amb

dex finger.
2 Lows often (10) gue of ba hand serene G9
HANOS

. Teka loss of use of both hands or amputation of doth hands

BH what joint or above...
2 Amputation of a hand at carpo-melecarpaljaints.
1 Amputation between wis! and elbow joint... .
4 Las arog poms kanal tate ld

of the finger of one hand... wn ettesebetsvetaseeess

. os
» Gb
&.?
G8

of one hand...
. Anirycdoned vrist Werormal p
. Anydased wrist in position one third (1/3) flexed or
he actin OF BWA crccctssassstecnseee tenes
LOER ANO ARMM

se

5
6 Leto opputon Dewan he unt oc oe oe her srececcarnaana
?
Q

half extended and/or savere

= sa

. SUM elbow at full fleaion or
. Si to al gh anata fexen Jestaee

bow jAint....
Psewcwtas ithe wi aap o nlp.
Anicpoals of one (1) shoulder, the shoulder blade remaining mobile...
Aniylous of one shoulder, the shoulder
+ blade remaining rigid...
10. Unredyeed dsiocation of one (1) shoulder.
Vy Phe Pumas,

QLLLLE OL LP LL LL Lee

aw OR we~—

=

coas (one side)...

2 @ 22

* above 6 level wih a shoulder

°o

mee
>

(oes Of 8 100... ecsessssssenserssnsnecnnesseetsesaneraseettestente coed
Loss of 4 lon offer then the
. toad often {10} dis of both eal =
Loas of a great toe of ong fact + one los...
Loss of two toes net great (oe or
: Meee eee es (yest tow cf # Rat.
. Loa of four (4) oon thane ato...
Lous of reat oe ad 02) her cee of Bie sae foot.
Loeg of five dighs of 8
10 Lone of bn loa tare Jot above
2 jee en te wen ee ee ea
12, Depression arch
13. La efoto).
14, Lone of whole metatarsus or
15. tart adhe wen raury hoe aC

of active fexion sed extension of a foot... evuepetee ces

i Spon
4 phale wn
19. Total lose of a leg or amputation al or above the Wee...

0 Sa 1g lhe game of «ee resing

ono an

Opn ew

yn

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Hora ewe =~ w=

“2685

PRREE SELLE LReRELLLeEeLeere eLLee
e0a0o0

~~ ee

2 1o8 CaO.
2 Compete wnmcoity of ines
24 Complete immonilty of a knee

25. Campin chy of hp et hte oe igh, ee sec conenetov see senvaness esecorsesses

28. Complete inmobifty of a hip joint fal fhe tigh...

77. Sight whroohy of calf cf eg muscles without apparent shortening
“or Joint lesion or disturbance of weight-bearing ine.

2. Shortening of 2 lower extremity fom one 6 three centimeters

with either nt lesion or disturbance of weight-bearing joltl.scscsccu0.
28. Shortening of 3 10 6 om. with sight atrophy

of calfor thigh muscies.

30. Shortening of 3 to 6 cm. with elther Joint lesion
of disturbence of weight-bearing joint.

i. irequlas union of fracture win joint nifhess and with
shortening of 6 fo 9 om. producing p

32. irregular union of fracture in a tilgh or jeg with sh qofé a9 ons,

38. Fallure of fracture of Both hips to unite

4. Fahure of fracture of a hip to unite.

35, Paralysis of both lower extremities...

36. Paralysis of one lower Ky
37. Scar the size of a palm or lacger eft on an extr

NOTE: Any Ham it the schedule clsasiiied under Grade 1 shal be considered or shall constitute

total and permanent disabitty.
SCHEDULE OF OISABILITY ALLOWANCES

impediment Grade impediment
US$S0,000

OYA & R=

eee ee eee ee

10.45% <
a7%

Da POG we ee

WH
Tote pal Pipl Csrecy equal ah exhung al prvag dun Borat pemere

SECTION 32-4 OCCUPATIONAL DISEASES

For sn occupational disease and the resulting disability or death to be compensable, al of the

condilons must be salsfed
[ The seatarer's work must Involve the risks described herein;

The oo was contracted as a resuit of the seafarer’s axpdsure to the described

Q The dtease wes contacted whin a prod of expoeure and under auch other fara

fecessary fo contract
(4) Thare wad 10 nctarous negikgence on fe par ofthe saute,
The folowing ip J under working conditions
Involving the risks dexcrbed herein:
OCCUPATIONAL DISEASES NATURE OF EMPLOYMENT
1. Cancer of the epithellel fining Work Involving exposure to aipha-naphih
of the Diadder, lamice, betienaphthylamin or benzidine e
art of the salts: and sursmi
(Papitiona of the bladder) aera “ me
2 Cancer, epithellomatous or viceration of the The use or handling of, axposure io tar,

akin of of the comeal surfece of the eye.

due to tar, pitch, bitumen, mineral oll or afin) scot or any compound preduct or

paraffin, or compound product or residue residue of any of these aubatences,
of these substances.

3 Deainess Any lndustted operation having excessive

nolge partculasty In Sve Nghes frequen-
ce. .
4, Decompression sicviess Any procass carried on in compressed or
rarefied ut.
{a) Calssons disease
(0) Aaroernboksm Any process carried of in rarefied aif,
§. Dermatils due to irfiants and sensitizers The use or handing of chemical
agents which ore adn Inflants end
senaiizen.

6. Infection (Brucetiosta) Any occupation involving the

of contamringtad food
and Gank parteul arty mit, bub
ler and chease of infected goats
and cowt.

{. tontzing radiation disease, inflammation, Exposure  X~ays, lonizing par.
ulceration or matignant dsesse of akin cr tcies of radius or other redivac-
tubcutaneous issues of the tenes or ive substances or other forme of
leukernla, or anemia of the eplostic type due radiant energy.

to X-rays, lonizing particle radum or radio
active substances.

6. Polsoning and Ra sequelae caused by:
(a) Ammonia
ei Arsenic of its tose compound.
ce) Benzene oF ts tcxde homologues:
nitro and aminotaxic derivatives of

pileh, bitumen, mineral of (Including par-

All wort lervolving exposure lo the rlak concerned.
Al work involving exposure 10 the nak concerned,
Al wort iwelving asposure 10 the rik concerned,

Ak work levaiving exponure io the rel concemed,

(f} Carbon dande All wort involving exposure ip the rel concerned,
(9) Carbon tisvtfide Al wort involving exposure te fre fek concerned,
(h} Carbon monaude Al wort Involving exposure is ine ek concerned.

Chlorine AA wort involving exposure in the fel concerned,

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"Chrome cf ls tate compounds All work involving exposure isthe dak concerned. SECTIONS. —=_TABLE OF OFFENSES AND CORRESPONDING ADMANI PENAL
{k) Onitroph ead or 8a hemeiogue Al work Invebing exporure f the lak NG ADMINISTRATIVE PENALTIES
? Haagen corres ol hyeroerbon Al work Involving exposure ip the risk concemed. JOFFENSES ~~ % AMINISTRATIVE PENALTIES
(im) Lead or bs tarde corps Al wort involving exposure t the risk concerned. be imposed SHALL imposed by POEA
{nh} Manganese ot is txic compounds Al work invotying exposure fo the rizk tr Master an by
(0) Mercury of Ks faxde compounds Al work Invoiving exposure to the risk concerned. *-Smagiing o velaton of any
o) Nivous hymen AZ wet neg xp ek concerned ase cand et tai
Phosgene Involving exposure concerned, Phiippines
ports
Phepharas ork akc compeunds Ae RTD exposure fk cancaed. Aomegging any tzxabia tem, | Disrrissal and to pay cost} fst Offersec
9, Oaeases causad by abnormaltien "Ak work Involving expose tothe dak concamnd. TU boat
in temperature and humidity. to excessive Neat or cold, Moin he race
(a) Heat svoke/cramps/exhaustion AR work invotving exposure ' the risk concerned. ind Oflerax:
{b) Ciliblainirosibitetreazing Al work Involving exposure to the (isk concerned. Minimum two (2) years and one (1)
{c} immarsion foctigeneral hypothermia Al work involving exposure to the dak concerned. dey suapension
10, Vascular disturbance in the upper ex. Any ocoupation causing repested ae yin fo PRA
vemities due lo condnuaus vibration motions, vorations and pressure eqity
from pheumade lols of power drits, of upper extremities.
fiveting machines or hammers, bsseason owe of pro | Oamissal Deltsting trom POEA registry
1, Carta Osan Ay of the following conditons must be met oe ote wt
a 10 heart disease was known io have been present during employment there must be proof gumrunning or possession lemissal
that ie was Ceasty pracipiated by the unusual strain by reasons of the “pond yr be Bs ayo Defating foes POEA regty
nature abetting of connhing with | Dismissal Minieree -
b. The strain of work that brings about an acute attack must be sufficient severity and must be aera comer srangg Maru ya nape
folowed within 24 hours by the clinical signs of a cardiac insult lo constitute causal relationship. e.misdecteration of of lalling 1 | Dismissal tst Offense:
¢. if & peron who wae apparenty asymptometic before deing subjected to strain at work declare widow leadiy © Minimum » 1 year suspension
showed signs and symptoms of cardiac Injury during the pertoomance of his work and such her seture and fw b vee Minar 2 eer supension
yinotoma and sions persisted, ils \0 to clam 6 couse relationship, oer '
12. Corebro-Vescular Accidants, AN of the folowing conditions must be met: on yea and 1 day ws
a —- There must de a Nstory, which should be proved, or trauma at work (to the head speciatty) Maxum. deleting from POEA
wut to unusual wnt extraordinary physical or mental strain or event, or undue exposure lo registy :
noxious gases is indwatry. ond Ofersace *
b. There must be @ direct connection between the veuma or exertion in the course of | f misdectaration of or falling ta | ‘st Ofteree: Minimum «2 yeary and { day ma
employment and the worker's collepes. declere wtites leating to | Raptimand and wating pension *
¢. the reume or azertion then and there cauaed a brain hemorrhage, the injury may be con fet secure but 10 | 2nd Offenee: Maximum - 2 yeart suspension
sidered a8 ating from work. iced Dlamiesa ‘rd Offense:
{1 Preumenia Alof te folowing conditions must be met Wisk - 2 years and $ day sum
a There mutt be an Hones! and definite history of wettng and chillng during the course of launum «
employment and also, of injury to the cresi walt with or without nb fracture, of Inhalation of M nga delatg from POEA
noxious gases, fumes and other deleterious substances in the place of work, q.possasion of traphic | Demissal anes Ye)
db. — Thece must be direct connection between the offending agent or event and the seafarer’s Ht materials ieedeg. ta i
me; ninpoter woud whch wl (a Ofsese
¢. The signs of consolidation should appear soon (within a few hours} and the symptoms of
Lite ctlg and evr shoud wees be 24 Bor ate fe ry or ecpooue, " fot implicate veesel Facer nd waring Sure a {ff
4 Te plat tmnt ny of hg toa iin af ayo De et) Damas
severe chil wid fever (7) headache and pain, sonizing in character,.In the side of the body: Yoution Olemizsal .
Onto re cough with blood-tinged expectoration; and (4) physical signs or consos- ee tenn “ncn Motion tone vee DEA
with fine rales.
14. Hernia, AB of the following conditions must be met - “er
a The hommia shoud be of recent origin. 2.Deserton
0M appearance was by pan and evidence of a tearing of the dssues. Afeertng or atampting 10 | Dleminsal and to pay cost =) Permanent Deleting trom POEA
c The dleoane was immediately preceded by undue or severe stain arising out of and In the rgatty
cored enero baie mar ru [Cerin weap | iS
@ — Aprotrusion of mass should appear in the ares inenediataly following the alleged strain. : reeaey
15. Bronehial Astina, Al of the following conditions mus! be met .
a Thwe i no evidence of hictary of aeduns before ernpicyment. Absence without leave
0. The allergen is present in the working condiilons. abandoning post ot duly | Diemissal ard to pay cost {st Oflersa:
c. — Senstifvtty teat lo allergens in Ue working envirenment should yield positive results. without being properly releved Minimum - 4 year suspension
4 A provocative test should show positive resuits, on + 2 years suapension
16 Ostaoartheés. : Mima «2 ars and { day sus
Any occupation involving: 9] joint strain from camying heavy loads, or unduly heavy physical labor, pension n ay
as among letorers and mechanics; b) minor of major Injuries to the joint ¢) excessive use or Maximum - delsting from POEA
consLant sirenvovs usage of @ particular joint, ea among sportsmen, particularly those who have
anqaged in the more acttre sports ectvites: d} extreme temperature changes (humidity, Neal and Same ws Xa)
cold exposures}; and a) faulty work posture or use of vibratory foots, binning the resol. witext ard epoyoont
7 Ulcer. Onrina
ie ston involving prolong sonal of physical stress, a8 among professional people, Maan ortg eign .
anapert workers and the Eke, eorruring 1 obers meigoed | A! he dace of ident | 1 OMtanse
In sddifon to working conditons already Uated under Philppine Oecree No. 626, as amended, any department head Maximum - | year suspension
occupation Involving constant exposure lo harmful substances in the working envionment, IA the 2hd Offense:
forh of gases, hnes, vapors and dus, as id chemical and lextie factories; overwork of fatigue; Micinum - 1 year and | day we
and exposure to repid Nigh degree of humidity, end bad weather condi yen
kona. Maxrrun - sunpension
10 Vira Hepatts. Metrum 2 oan od yn
In addition ip working condifons aready Isled under Prilpoine Cecree Ho. 626, as amended, any “a
cecupaton Invotting exposure to 2 source of Infection trough Ingestion of water, mik, or other Maximum - detsting ton POEA
foods contaminated with hepadte virva; Provided thal the physician determining the causal rei
tonshie between the employment and the Enese should be apie io indicate whether the deacsc of t.lewding the vessel wftoxt | Al De clecreton of Master saree Xe)
the afficted worker manifested itself whte he was 20 employed, Knowing the incubation period orient :
tered, .
20. Essentlal Hypertension. TRleeping on post wile on duty Diemiasal and i paycost | bane as 8)

Hypertension classified as primary or essential la considered compansabie HK causes S Insuborgination

of function of body organs Dke Kidneys, heart, eyes and brain, resulting in permanent dls bility, sary act of Aactedience to | Dleminsal and lo pay cost | Same os Xa}

Provided, that, the following documenta substandste mi chesl x-fay report, (b] EGG report (¢} ins orders of 8 superior

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b. The cheat Xray report of Ihe empioyes must show findings of esbesion or ssbeeioe-relsted teady
disenne, 0.4. pleural plaques, pleura thickening, wfluslon, neopiaum and interstdal Sbrosis; d.ussming & super officer | Dismissal and fo pay cost Delisting fom POEA
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t Systoen within Cres (3) years from discovery. wasoan
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son any actity which wil hamper Maurrum > 3 years suspension
6.Dnnkenness ; oe greet operstion of the ond Offense:
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Maximum - } years suspension M regitty dedstng am POEA
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* 29706700 10:24 FAx Tp " POEA-ROCO 4 ae
. 4 ‘ aa e @ 02
* Republic of the Philippines
* ‘ Department of Labor and Employment

PHILIPPINE OVERSEAS EMPLOYMENT AOMINISTRATION
CONTRACT OF EMPLOYMENT
KNOW ALL MEN @Y THESE PRESENTS: ,
This Contract, entered into voluntarily by and between:

Name of Seafarer:

Address: . >
SIRB No.: SRC No: __. —
License No. _ _ °
hereinafter referred to as the Employee SO
and
Name of Agent: |
For and behalf of —
(Principal/Country)
for the following vessel:
Name of Vessel: _- eee
Official Number: Gross Registered Tonnage (GRT)
Flag: Year Built Ciassification Souety
hereinafter referred to as the Employer, .
WITNESSETH

1. Thatthe employee shail be employed on board under the fotlowing terms and conditions

1.1 Duration of Contract: . - .

1.2 Position: eee
13 Basic Monthly Salary: ‘ ~_ - Leo
1.4 Hours of Work: . -e
1.5
1.6
1.7

Overtime: ___. _
Vacation Leave with Pay:
Point of Hire: . -——

2. The herein terms and conditions in accordance with Department Order No 4 3nd Memorandum Circular No
9. both Series of 2000, shall be strictly and faithfully observed

3. Any alterations of changes, in any part of this Contract shall be evaiuated venhed. processed and approves
by the Philippine Overseas Employment Administration (POEA) Upon approval, the same shull te deemed
.an integral part of the Standard Terms and Conditions Governing the Employment of Filipino Seaiarars On

Board Ocean-Going Vessels

4. Violations of the tarms and conditions of this Contract with its approved addendum shall be cround for
disciplinary action against tne erring party.

IN WITNESS WHEREOF the parues have heveto set their hands this | day of _
720 at . Philippines.

Seafarer Fer tha Employer

Verified and approved by the POEA:

@
Date ° Signature of POFA Official

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DEPARTMENT OF Li

on board ocean-going vessels a
Per month;
2 The minimum wage shail apply contracts ex-

This Order shall take effect on 01 July 2000,
For comptance.

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Department Order No. 04 - . ad Wy Condon te te eae and "Five work is SECTION 16 TRANSFER CLAUSE

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8. The sestarer shal submit io fig trderol the wibter i 10 the laws of any tonotte cee me marvin ts wag
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shall fonnusdate the lor the don of te moral plain in accordance with the
Contract, a copy of is hereto attached, . :

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which he le assigned to epiain

Loo : t. The seatarer shal fret approach ¢
The amended rise shel take effect Mteen (15) day kom date ,
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